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                                  MASTER SERVICES AGREEMENT

        THIS AGREEMENT dated January 18, 2013 (“Effective Date”), by and between The Regents
of the University of California, a nonprofit educational institution, on behalf of the School of Information
at University of California, Berkeley, with an address of 102 South Hall #4600, Berkeley, CA 94720-
4600 (“University”), and 2U, Inc., a Delaware corporation, having an office at 8201 Corporate Drive,
Suite 190, Landover, Maryland 20785 (“2U”). University and 2U are referred to collectively in this
Agreement as the "parties" and individually as a "party."

                                           W I T N E S S E T H:

       WHEREAS, University is a world class educational institution and includes its School of
Information (“School”);

       WHEREAS, University has determined a demand for an online distance learning Master of
Information and Data Science program for the School;

        WHEREAS, University and 2U have agreed to invest into the development and administration of
the Program and to perform the work and furnish services as described in this Agreement;

         NOW, THEREFORE, in consideration of the premises and the mutual covenants herein set
forth, the sufficiency of which is acknowledged, the parties agree hereby as follows:

        Definitions. Capitalized terms not defined within the text of the Agreement shall have the
respective meanings ascribed to such terms herein or as set forth below:

         “2U’s Intellectual Property” means the Platform, including all patents, copyrights, trademark
rights and other intellectual property rights in the Platform; all other technology, computer programs and
software source code developed for the Platform, including 2U-developed or 2U-acquired user interface
designs necessary to facilitate access to University’s Intellectual Property via the Platform; logic and data
modules, algorithms, feature sets and source code, and documentation relating thereto; all micro sites and
other marketing content created, developed and/or hosted by 2U as part of 2U’s Promotion Strategies (but
specifically excluding any University Intellectual Property which may be used or incorporated therein
during the Term); Program Trademarks (as defined below), and any information 2U collects that relates to
any individual other than information relating to any University student, information relating to any
University personnel (including, faculty, staff, consultants or other individuals associated with
University), or any Program Applicant Information.

         “Admissions Standards” means admissions standards similar to the admissions standards
applicable to the Master of Information Management and Systems (MIMS) program for all student starts
through the first Fiscal Year of the Program; and the admission standards to be articulated by the
University at the start of the second Fiscal Year and reevaluated and potentially revised at the start of the
fifth Fiscal Year to be applicable to all Program students thereafter.

         “Change in Control” means (i) any merger, consolidation, acquisition or similar transaction(s)
resulting in the stockholders of 2U immediately before such transaction or transactions not retaining a
majority of the voting power of the surviving entity, or (ii) a sale of all or substantially all of 2U’s assets.


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       “Competitive Programs” means any online program offering any Master of Information and Data
Science degree, Master of Information Management and Systems degree, or other comparable masters
degree in information management other than the Degree offered by the parties pursuant to this
Agreement.

         “Confidential Information” means all the business, products, services, costs, and marketing
information pertaining to both on-site and online students’ admissions, performance, and post-graduation
outcomes as well as all information (including academic as well as personal contact and financial
information) pertaining to any faculty, staff, on-site students, on-line students, applicants, and future plans
of a Disclosing Party and any other information regarded as confidential and valuable by the Disclosing
Party that the Receiving Party knows or should know is regarded as confidential and valuable by the
Disclosing Party (whether or not the Confidential Information is labeled as confidential) except such
information that: (i) is or becomes publicly known other than through the action of the Receiving Party;
(ii) that was possessed before receipt; (iii) is lawfully received from a third party not owing a duty of
confidentiality; or (iv) is independently developed. For the avoidance of doubt, non-public information
regarding University students, applicants, faculty and staff, and all GPA, GRE and other admission data
provided pursuant to Section 2(b)(i), shall be University Confidential Information.

        “Curriculum” means the Program curriculum, including all asynchronous lessons and any other
course content provided by University faculty and staff.

        “Degree” means the School's Master of Information and Data Science ("MIDS") degree when
used in reference to the Program; and the School’s Master of Information Management and Systems
(“MIMS”) degree when used in reference to the School’s in-classroom degree program.

        “Disclosing Party” means a party that discloses its Confidential Information to Receiving Party as
specified in Section 8(B).

        “Fiscal Year” means a period starting July 1 and ending on June 30 of the following calendar
year.

       “Full Time Equivalent Student” or “FTE Student” means the total number of credits started by all
Program students during any semester divided by nine (9).

        “Indemnified Party” means a party that is indemnified by an Indemnifying Party as specified in
Section 6(D).

        “Indemnifying Party” means a party that indemnifies an Indemnified Party as specified in Section
6(D).

        “Non-Performing Party” means a party that breaches any of its obligations under this Agreement.

         “Personal Information” means (i) any educational record of a University student or an applicant
to the Program, (ii) Program Applicant Information, or (iii) other non-public personal information that
relates to University students or University personnel that could be used, either directly or indirectly, to
identify any such person or is otherwise protected under applicable law.


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         “Platform” means a technology platform for the Program, to serve as an online communication
portal for students, faculty, course coordinators, course assistants, and Program staff and to enable online
applications, course delivery, Program communications, development and maintenance of student
portfolios, career services and such other functions as are mutually agreed to by the parties. For the
avoidance of doubt, the Platform specifically excludes all third party software that the University requires
or suggests students to use.

        “Program” means the online distance-learning program for University developed, delivered and
used pursuant to this Agreement.

        “Program Applicant Information” means non-public information collected about Program
applicants as part of the Program application process, including as contained within the Program
application.

        “Promotion Strategies” means all marketing and promotional strategies related to the Program
agreed upon by the parties.

         “Produced Segments” means the asynchronous products of the Program produced by 2U from the
Curriculum, and comprised of lectures, simulations, videos, PowerPoints and other typical online course
content.

        “Receiving Party” means the party that receives the Confidential Information of a Disclosing
Party as specified in Section 8(B).

       “Residencies” means face-to-face components of the Program led in a physical environment by
University faculty, staff or instructors within each other’s physical presence.

       “Reviews” means due diligence on, audit, inspection and examination of 2U’s operations,
computer systems, Platform and access controls directly related to the Program.

        “Semester” means each spring, summer and fall semester as defined and otherwise ordinarily
referred to by University.

        “Territory” means the world.

        “University’s Intellectual Property” means all copyrights, trademark rights and other intellectual
property rights, in all of the non-technical content of the Program, including the Work Product, the
Curriculum and the Produced Segments (excluding 2U’s Intellectual Property), the names “UC
Berkeley,” “Berkeley,” “I School” in association with “UC Berkeley” or “Berkeley” or other trade name,
trademark, design or logo specified by University and incorporated into the Program trademark for use in
connection with the Program, any information provided by University to 2U and relating to any
University student or University personnel (including, faculty, staff, consultants or other individuals
associated with University), and any information relating to any University student, information relating
to any University personnel (including, faculty, staff, consultants or other individuals associated with
University), or any Program Applicant Information.



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         “Work Product” consists of all results and proceeds of 2U’s services hereunder in producing the
Produced Segments, whether stored on tape, computer disks or otherwise, and all derivative works that
are conceived, created or developed as a result of or in connection with such 2U services. For the
avoidance of doubt, Work Product constitutes University’s Intellectual Property and specifically excludes
all of 2U’s Intellectual Property.

1) 2U’s Services. 2U shall provide technological, marketing, promotional, development and support
   services with respect to the Program as follows:

    A) Recruitment. 2U shall create and carry out Promotion Strategies targeted toward building
       awareness of the Program and generating a flow of quality applications from prospective students
       from the Territory. To do this, 2U shall develop a written plan and appropriate marketing
       materials for the Program and shall execute this plan. 2U shall fund and develop appropriate
       materials and shall be responsible for recruiting students into the Program. 2U’s Promotion
       Strategies may include, but shall not be limited to, engaging personnel or utilizing other resources
       to recruit prospective students, any and all lead development efforts (including purchasing leads),
       and any and all other efforts 2U utilizes and resources 2U engages as part of marketing the
       Program and generating quality applications from prospective students throughout the Territory.
       2U shall draft and deliver a written plan regarding the Program to the School no less than
       annually, and the School shall have the right to review and approve the written plan and the
       ongoing right to review and approve all marketing materials related to the marketing of the
       Program. As described in paragraph 2(A), the parties shall jointly agree to the creation of any
       marketing materials newly created or reformatted for the purpose of including the Program as part
       of University’s offerings, and 2U shall be responsible for all direct costs incurred with respect
       thereto.

    B) Admissions Processing. 2U shall collect completed online applications for the Program and
       forward those applications to the School’s admissions office, all through the Platform in a manner
       that shall be agreed upon by the parties and set forth in writing, including as amended from time
       to time.

    C) Customer Service and Counseling. In an effort to maintain a high level of customer service, 2U
       shall provide phone support and guidance to prospective students and to students upon
       matriculation and throughout the Program. Such counseling shall include technical and career
       issues, but 2U shall defer academic guidance to University counselors. 2U shall provide all such
       counseling in a manner consistent with reasonable written guidelines provided by the University.

    D) Residences. As described in paragraph 2(D), University may require or encourage Program
       students to participate in Residencies.

    E) Curriculum Design. In the School’s design of the Curriculum as described in paragraph 2(E), 2U
       shall provide technical assistance and recommendations with respect to content and techniques
       that best use the available technologies and methods embodied in the Platform in order to meet
       the needs of Program students. 2U may also provide other related support as necessary and as
       agreed by the parties.




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F) Curriculum Production and Deployment. From the Curriculum designed and created by School
   faculty, 2U shall produce, and shall coordinate the logistics to produce, the Produced Segments
   and shall prepare the Curriculum for online deployment through the Platform. Without limiting
   the generality of the foregoing, 2U shall be responsible for (i) all production costs with respect to
   each Produced Segment, including the cost of all production personnel and equipment (but not
   including payment to University for the use of University facilities, or salaries or other
   compensation of School instructional personnel), (ii) all legal clearances for music and graphics
   used in the Produced Segments and all legal clearances for students and others who appear in the
   Produced Segments, provided that the School shall cooperate with 2U in securing such clearances
   from School instructional personnel, and (iii) digitizing and otherwise converting all content for
   each Produced Segment to a medium suitable for delivery to students via the Platform. Promptly
   after completion of each Produced Segment, 2U shall deliver a copy of such Produced Segment to
   the School. All such Produced Segments shall conform to the School’s design as set forth in
   Section 2(E) and be subject to the School’s written approval prior to any distribution or other
   release thereof; 2U will make reasonable efforts to ensure that School online curricular materials
   are up to the quality standards of its classroom program and are competitive with the best of
   competing online programs.

G) Program Delivery and Support. 2U shall provide consulting assistance for the School’s
   development of the instructional content of the Program, and for its efforts to hire, train and
   support its faculty who deliver such instruction, all as more fully described in Schedule 1(G).
   Service levels defined in Schedule 1(G) shall govern 2U’s support for Program students and
   faculty, such service levels to be revised periodically in writing upon mutual agreement by the
   School and 2U. Service level agreements shall include, but not be limited to, timeliness of
   response and user satisfaction. 2U shall provide such services as the School may reasonably
   require to maintain records and communications regarding academic performance. 2U shall
   provide training and technical support to School faculty and other instructional personnel with
   respect to the use of the technologies within the Platform. Throughout the term of this
   Agreement and any Term Extension(s), 2U shall support the Program with a team headed by 2U’s
   President for Graduate Programs and a designated Senior Vice President/General Manager of the
   company (“SVP/GM”). The SVP/GM shall be dedicated to the delivery and support of the
   Program, with his or her principal office located in Berkeley, California.

H) Technology. 2U has built, and shall maintain, periodically revise, and host the Platform. 2U
   shall use commercially reasonable efforts to integrate tested new technologies and insights into
   the Program and the Platform. University may request an upgrade of the Platform if, in the
   reasonable judgment of University, such upgrade is necessary to maintain the reputation and
   competitiveness of the Program. Should the School wish to use the Platform for other programs,
   the related fees from 2U shall be as set forth in Schedule 1(H).

    i)   Specifications and Service Levels. The Platform will be accessible through the World Wide
         Web, and the specifications and performance standards for the Platform and the related
         service level agreements are as set forth in Schedule 1(H)(i) attached hereto. Such service
         level agreements shall address availability of the Platform (subject to reasonable amounts of
         scheduled downtime for maintenance and similar matters), correction of any errors, bugs and
         defects in the Platform and 2U’s responsiveness to students and other users experiencing
         problems with the Platform. At least once every twelve months following the Program


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         Launch, 2U shall propose changes and updates to the specifications and performance
         standards for the Platform in order to maintain the effective performance of the Platform.

    ii) Ongoing Quality. After Program Launch, the School shall notify 2U if the Platform has
        failed to satisfy the specifications and standards contemplated hereby or if 2U is in default of
        its service level agreements, specifying any failure or default in reasonable detail and
        suggesting how the School would like such failure to be remedied, and 2U shall, at its
        expense promptly after receipt of the School's notice, modify or improve the Platform or take
        other corrective action in order to bring the Platform into compliance with such specifications
        and standards or improve its service to comply with such service level agreements. Failure of
        the Platform to meet such specifications and standards or of 2U to comply with such service
        level agreements within five (5) days after 2U’s receipt of the School's notice, shall, pursuant
        to Section 5(C) below, constitute a material breach by 2U of this Agreement, subject to the
        right of University to terminate this Agreement according to Section 5.

I) Program and Student Evaluation. 2U shall gather ongoing data of Program students to assist with
   overall Program evaluation, including student satisfaction with the Program, evaluation of
   instructors and such other matters in such form and at such frequency as the School may
   reasonably require. 2U shall share evaluative data frequently (as agreed upon by the parties) to
   help drive ongoing improvement. The data that 2U gathers pursuant to this Section 1(I) shall
   constitute University’s Intellectual Property unless it does not relate to any University student,
   University personnel (including, faculty, staff, consultants or other individuals associated with
   University), or Program Applicant.

J) Career Services. 2U shall use good-faith efforts to support through the Platform and through
   other services provided by 2U under this Agreement the career services provided by the School
   pursuant to Section 2(K) to Program participants and graduates.

K) Compliance.

    i)   Personal Information. 2U acknowledges that University is subject to laws and regulations,
         which govern and restrict the collection, storage, processing, dissemination and use of
         Personal Information. 2U shall, and shall cause its employees, agents, servants, principals
         and any subcontractors, to comply at all times with all applicable laws, rules and regulations,
         including privacy and information security laws and regulations relating to the performance
         of 2U’s obligations under this Agreement, and University internal policies. Without limiting
         the generality of the foregoing, 2U agrees (a) not to collect, store, process, disseminate or use
         any such Personal Information obtained from University except to the extent expressly
         permitted or required in the performance of its obligations under this Agreement and in
         compliance with law, (b) to store all such Personal Information only in secured form within
         2U's information systems and (c) not to sell, distribute, release or disclose lists or
         compilations of any items of Personal Information unless in compliance with applicable law
         and with the prior written consent of University (including through the School, as
         appropriate) or of the subject(s) of the Personal Information to be released or disclosed. Any
         disclosure of Personal Information by 2U in the performance of its obligations hereunder
         shall be made only on a “need-to-know” basis and subject to an applicable confidentiality



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    agreement or other obligation substantially similar to the confidentiality, privacy and
    information security requirements imposed on 2U under this Agreement and applicable law.

ii) Student Privacy Rights. Without limitation of its obligations under paragraph 1(K)(i) above,
    (a) 2U shall take all reasonable measures to protect the Personal Information of Program
    students consistent with Family Education Rights and Privacy Act (“FERPA”), (b) 2U shall
    furnish the School a copy of 2U’s information security procedures for the storage and
    handling of Personal Information prior to the commencement of 2U’s handling and
    processing of such matter, (c) 2U shall furnish the School a copy of any update or other
    modification of such security procedures and (d) such security procedures and all updates and
    modifications thereof shall be subject to the advance written approval of School.

iii) Agency Regarding Student Information. For the term of this Agreement and as needed to
     satisfy regulatory requirements applicable to University, University may appoint 2U an agent
     of the University Office of the Registrar for the use of student education records and other
     Personal Information solely for the purpose of providing the student and graduate services
     required hereunder throughout the Program and thereafter, including counseling of
     prospective students, continuing contact with graduates of the Program, and ongoing
     employment of Program students and graduates. Under such agency arrangement, 2U shall
     be under the direct control of University and must follow the same rules and laws as
     University with respect to all such student education records and Personal Information.
     University shall comply with the annual FERPA notification requirement to parents and
     eligible students.

iv) Incentive Compensation Rule. 2U shall compensate its employees engaged in the recruitment
    of Program students, or in the supervision of such employees, only in accordance with the
    provisions of 34 CFR § 668.14 (b)(22), commonly referred to as the Incentive Compensation
    Rule.

v) HEOA Section 495 Compliance. 2U shall remain in compliance with HEOA Section 495.
   Without limiting the foregoing, 2U shall, at its sole expense, have and maintain security
   mechanisms in place to ensure that each student registering for a course is the same student
   who participates in the course or receives course credit. Such security mechanisms shall, as
   agreed between the parties, include one or more of the following methods: (a) a secure login
   and pass code; (b) proctored examinations (with the parties to share equally the marginal
   costs of any live proctoring); and (c) new or other technologies and practices that are
   effective in verifying student identification. Nothing herein shall prohibit 2U from requiring
   Program students to purchase specific hardware intended to enable the security mechanisms
   referenced herein.

vi) Disability Access. 2U shall be responsible for assuring compliance with all applicable
    accessibility requirements of California and federal disability laws, including section 508 of
    the Rehabilitation Act of 1973, as amended (29 U.S.C. 794d), and its implementing
    regulations set forth in Title 36, Code of Federal Regulations, Part 1194 with respect to the
    Platform, Produced Segments and all other services provided by 2U hereunder, provided
    however that University will be the party reasonably determining, in consultation with 2U,
    how those legal obligations will be met in a particular case. University shall be responsible


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        for assuring compliance with all other applicable accessibility requirements of California and
        federal disability laws, including relating to the Program, specifically including all costs
        associated with making real-time faculty presentations accessible.

L) Monitoring and Audits Generally.

   i)   2U shall regularly (a) measure, monitor and track the performance of its services, obligations,
        and Platform; and compare such performance to the service level agreements and other
        specifications and standards provided for in this Agreement, (b) detect and promptly cure
        deficiencies and (c) report such deficiencies and cures to the School on a quarterly or other
        basis as agreed between the parties in a form mutually agreed by the parties from time to
        time. Such assessment of the performance of 2U’s services and obligations shall include
        providing the School an opportunity to assess or comment to 2U on 2U’s performance of its
        services and obligations, irrespective of any other measurements.

   ii) At least annually as requested by the School, 2U shall provide reasonable, mutually
       acceptable, written certifications as to 2U’s compliance with applicable laws, the service
       level agreements and other specifications and standards provided for in this Agreement, and
       such other matters as may be reasonably requested by the School. For the avoidance of
       doubt, such written certifications shall include any sub-certifications reasonably required by
       the School to enable the School to provide its own written certifications to any students,
       graduates or regulators as required by applicable law or contract. The School shall consult
       with 2U prior to agreeing to provide certifications with regard to the Program that will require
       a 2U sub-certification.

   iii) Upon the School's request, 2U will promptly furnish (in a time frame not to exceed fifteen
        (15) business days) the School's authorized representatives and auditors (consisting of one
        School representative and one representative of the University’s Chief Financial Officer)
        copies of (a) applicable 2U records, including testing results (whether conducted by 2U or a
        third-party), (b) 2U’s compliance policies and procedures applicable to 2U’s operations
        related to its services and obligations, and (c) any other records required to be delivered by
        2U pursuant to this Agreement in each case in order to conduct Reviews or as otherwise
        relating to 2U’s performance under this Agreement for purposes of verifying any sums
        discussed in Section 3 hereof. At the School’s reasonable request and expense, Reviews also
        may include “ethical hacks,” penetration testing or other testing of the 2U system and 2U’s
        information security, data protection, disaster recovery, business continuity and
        confidentiality policies, procedures and safeguards. The School agrees that Reviews will be
        completed at 2U’s facilities when relating to assessment of the Platform such that on-site
        review is the only reasonable way to perform the assessment upon reasonable advance notice
        during regular business hours. The parties will cooperate in good faith to minimize the
        disruption associated with on-site Reviews, including the timing of such Reviews.
        Notwithstanding any of 2U’s obligations set forth in this paragraph, 2U’s release of any
        information hereunder shall be deemed Confidential Information for purposes of this
        Agreement to the extent it does not meet one of the exceptions set forth in the definition of
        that term.




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   iv) If 2U receives a request or demand from an applicant, student or graduate of the Program, or
       a regulator in regard to University or the School or a student or graduate of the Program,
       requesting a Review, 2U shall notify University or the School (as appropriate) promptly, and
       2U shall work with University and/or the School (as appropriate) or any such student,
       graduate or regulator in conducting and responding to any such request for a Review,
       provided that 2U shall not be required to provide a Review to a third party (excluding
       regulators), except as required by law.

   v) 2U will discuss with School personnel, or provide summaries to the School of, any material
      violations of 2U’s code of ethics, laws, or other compliance-related policies and procedures
      (whether internal to 2U or where compliance with University policy is required by this
      Agreement) by 2U personnel related to 2U’s performance hereunder, and 2U will promptly
      notify the School of (and, if requested by the School, provide the School summaries of)
      material changes to 2U’s code of ethics and other compliance-related policies and procedures
      applicable to 2U’s performance hereunder. Notwithstanding any of 2U’s obligations set forth
      in this paragraph, any release of information shall occur in a manner that ensures that the
      confidentiality and integrity of such information is maintained.

   vi) Without limiting any other provision contained herein, if 2U becomes aware, for any reason,
       including as a result of any self-testing, “ethical hack,” penetration testing or other
       monitoring or other Review contemplated in this Section 1(K), of a deficiency in meeting any
       service level or other specification or standard in the performance of any service or obligation
       under this Agreement, then 2U shall promptly, at its expense (a) perform an analysis to
       identify the cause of any such failure or deficiency, (b) provide the School with a report
       identifying the cause of such failure or deficiency and describing the intended
       procedure/steps for correcting or resolving such failure or deficiency and the timeline for
       completing such procedure/steps, (c) if requested by the School, meet with the School (in
       person or by teleconference) to discuss such failure or deficiency and such intended
       procedure/steps and timeline, (d) promptly cure such failure or deficiency and (e) after such
       failure or deficiency is cured, promptly notify the School that such failure or deficiency has
       been cured.

M) Data Sharing. 2U shall provide the following information to the School via electronic access,
   updated daily: (a) the number of prospective students contacting 2U as of that date during the
   month; (b) the number of non-completed applications in the process of completion as of that date
   during the month; (c) the number of completed applications sent, delivered or otherwise
   transmitted to the School as of that date during the month; and (d) such other information as may
   be mutually agreed upon by the parties from time to time.

N) 2U Employees & Contractors. 2U shall be responsible for any liabilities arising from 2U’s
   employees and use of subcontractors hereunder. At the School’s reasonable request, except if
   such removal is prohibited by law, 2U agrees to promptly remove from involvement with the
   Program or from providing services hereunder any 2U employee or contractor, provided that such
   employee or contractor is one who (i) uses an email address with a domain of “berkeley.edu,” (ii)
   holds himself or herself out as acting on behalf of University or the School in the course of
   performing services under this Agreement, or (iii) for whom the Program constitutes 50% or
   more of his or her employment responsibilities.


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2) University’s Services. The School shall be exclusively responsible for ensuring the academic quality
   and academic integrity of the Program, including the following:

   A) Recruitment. The Program shall be branded with a trademark mutually agreed upon by the
      parties (“Program Trademark”). University and the School shall promote the Program as in the
      same method and manner as in-classroom programs at the School, including placement on the
      School’s website (if such placement is given to any other School program), within the School’s
      career center, and at all student recruitment events and professional school fairs attended by
      School representatives in a manner comparable to the promotion of the School’s in-classroom
      Degree program, and, to the extent University and/or the School promotes the School’s in-
      classroom Degree programs, it will promote the Program in a comparable manner, including by
      characterizing the Program as equal in quality to the in-class program. Further, the School shall
      consult with 2U in the development of additional Promotion Strategies, and the School shall have
      the right to review and approve all marketing and other materials related to the Program prior to
      their use.

   B) Admissions Processing and Financial Aid.

       i)   After the School's receipt of a complete application from 2U (as set forth in Section 1(B)
            above), the School shall, in its sole discretion, determine which qualified students shall be
            admitted to the Program. The process shall be as objective as possible to help make the
            process predictable for the parties and for students. The School shall share with 2U non-
            personally identifiable GPA, GRE and other admissions data (showing, for example, percent
            of admits in bands of college GPA and other relevant admissions qualifications) to assist 2U
            in developing an understanding of the School's admissions process, determining how to apply
            admissions standards, and making projections. After receipt of an applicant’s completed
            application, for ninety percent (90%) of applications, the School shall admit or reject each
            applicant, within ten business days (excluding campus holidays and closures) and will ready
            admitted students for matriculation in accordance with the School’s standard matriculation
            timelines. At such time as the School institutes an in-classroom MIDS program, the School
            shall apply admissions standards to the Program that will yield a class equally qualified to
            that of the then current in-classroom program.

       ii) The School shall, in its sole discretion, establish Admissions Standards for the Program that
           are at least as competitive as those for any of School’s residential degree programs. The
           School and 2U shall cooperate to make the admissions process and the application of
           admissions standards streamlined, transparent and clear to enable 2U to target its promotional
           efforts to students likely to be accepted.

       iii) University shall be solely responsible for the administration of all financial aid programs and
            will process all requests for aid quickly. University shall provide financial assistance to
            Program students similar to that offered students in the School’s classroom degree program.
            2U shall not be involved in any manner in the award or disbursement of financial assistance
            provided pursuant to Title IV of the Higher Education Act of 1965, as amended. The parties
            may agree to provide scholarships and fellowships to Program students in accordance with
            the terms specified in Section 3 below.


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C) Student Service and Counseling. Once admitted to the Program, students shall, to the extent
   practicable given the inherent differences between in-classroom and online students, have similar
   rights and privileges and receive services similar to those received by the School’s in-classroom
   Degree students. The School shall ensure the availability and participation of School faculty and
   staff, and provide academic counseling in Program requirements, add/drop policies, probations,
   leave of absence and similar matters. Fees for specific activities (e.g., an on campus gymnasium
   charge) will not be imposed on Program students who cannot reasonably benefit from the related
   services that appropriately apply only to in-classroom Degree students. The School shall provide
   academic counseling to Program students (in-person to students visiting the campus and by
   telephone or internet to others) to answer questions concerning incoming/outgoing transfer
   credits, specific prerequisite academic or certification requirements, academic petitions or
   disputes and leaves of absence. The School shall provide academic support to any student in
   danger of dropping or being dropped from the Program, and shall provide academic support to
   Program students equivalent to the academic support provided to in-classroom students.

D) Residencies. University may require or encourage Program students to participate in Residencies,
   and will establish locations and other logistics as University deems necessary to conduct and
   implement any such Residencies.

E) Curriculum Design. The School shall be solely responsible for the timely design, timely creation
   and ongoing revision of the Curriculum, making its reasonable efforts to have the framework of
   the Curriculum set by June, 2013, so that the Program can be launched by September, 2014.
   University shall require School faculty members' timely participation in the creation and design
   of the Curriculum and in any modifications thereof. As required by 2U and the Platform, School
   faculty or other personnel provided by the School shall provide reasonable assistance (including
   timely participation) to 2U’s web team in the adaptation of the Curriculum for the Program to
   web-based presentation via the Platform. The School shall be solely responsible for the ongoing
   review and revision of the Curriculum as the School determines, at its sole discretion, to be
   necessary and appropriate to maintain the academic quality and academic integrity of the
   Program, provided that 2U shall use reasonable efforts to promptly include such revisions into the
   Produced Segments. Further, while 2U and the School are initially readying the Curriculum for
   the Program, the School shall provide 2U with meeting space at the School for 2U employees in
   order to facilitate such employees’ interactions with participating faculty. The School shall
   ensure the availability and participation of faculty and other personnel to achieve the Curriculum
   design as set forth in this Section 2(E). University shall be responsible to obtain any legally
   required rights, permissions, consents or other clearances required, whether relating to copyright
   or otherwise, with respect to the use of any content or materials (educational or otherwise)
   incorporated into the Curriculum (excluding any clearances required for the Produced Segment
   more generally pursuant to Section 1(F)). University shall take all required actions necessary to
   ensure that University’s faculty members do not make available during the term or any Term
   Extension(s) all or substantially all of the Curriculum, any Work Product and/or any Competitive
   Program on the Internet for any purpose, including but not limited to where such Curriculum (or
   portions thereof), Work Product and/or Competitive Program includes any University Intellectual
   Property created by 2U and owned by any faculty member.




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F) Curriculum Production and Deployment. The School shall use reasonable efforts to prepare
   drafts of the syllabi (and to obtain timely any required internal approval(s)) (i) on or before June
   1, 2013, for the courses to be included at the time of Program Launch, and (ii) on or before the
   date(s) to be mutually agreed upon by the parties for courses to be offered subsequent to Program
   Launch. The School shall also use reasonable efforts to develop such syllabi into appropriate
   materials in time for production to meet such schedules. The School shall secure the commitment
   of those School faculty members and other instructional personnel selected by the School for the
   Produced Segments and for any modifications to the Curriculum required by the online delivery
   mechanism. Unless otherwise agreed in writing by the parties, the School shall be solely
   responsible for the expense of such faculty, other instructional personnel and other University and
   School staff. Each Produced Segment shall conform to the School's design and be subject to the
   School's review and written approval prior to any distribution or other release thereof. Each
   course approved by the School shall be released for distribution on the Platform as such course is
   approved, subject to the provisions of Section 1(G) and 1(H) hereof. University and the School
   shall be solely and exclusively responsible for ensuring that University’s faculty members do not
   at any time use any Produced Segment, in whole or in part, for any purpose other than (i) as part
   of the Program or (ii) as permitted pursuant to Schedule 1(H), and that all such use shall be
   otherwise in accordance with this Agreement.

G) Course Development & Support. Each course that comprises Produced Segments shall be taught
   exclusively by School faculty and other instructional personnel selected by the School. The
   School and 2U shall be jointly responsible for the creation of a training curriculum and the School
   shall be responsible for the hiring, training, support, management and oversight of the work of the
   School faculty and other instructional personnel, provided that 2U will provide consulting support
   to assist the School in such efforts, in the School's development of the instructional content of the
   Program, and in the School's efforts to hire, train and support its faculty who will deliver
   instruction within the Program. The School shall use reasonable efforts to maintain faculty
   availability, experience, quality and student to faculty ratio similar to those of competitive degree
   programs. At 2U’s reasonable request, University and the School shall provide 2U with access to
   information pertaining to both classroom-based and online students’ admissions, non-aggregated
   academic performance, Program satisfaction and post-graduation outcomes, as well as
   information pertaining to relevant faculty, staff information, to the extent permitted by and
   subject to the requirements of FERPA and such other laws and regulations as may pertain The
   School shall identify the course materials to be used within the Program reasonably in advance of
   each course start.

H) Technology. The School shall, upon 2U’s reasonable request, advise and consult with 2U as to
   the design of the Platform and its sufficiency for use for the Program. At 2U’s request, the
   School shall participate with 2U in the testing and, as necessary, re-testing of the Platform as
   contemplated by Section 1(H) above.

I) Academic or Other Certifications. University and the School shall be responsible to secure any
   accreditations, registrations or approvals with respect to the Program as may be necessary to
   operate in any domestic or international jurisdiction or to otherwise accomplish the activities set
   forth in this Agreement. 2U shall provide to University and the School reasonable assistance in
   securing such accreditations, registrations or approvals as University and the School may
   reasonably request and as mutually agreed by the parties. 2U shall prepare all necessary


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       applications and/or other forms associated therewith for review and approval by University and
       University shall execute and file all such approved applications and/or other forms and, as an
       expense of the Program, pay all associated filing fees.

   J) Evaluation. The School shall oversee the Program evaluation, utilizing University and School
      data and the data gathered by 2U pursuant to Section 1(I) above and other available data.
      University and the School shall at their sole discretion determine satisfaction of degree
      requirements, award all grades, and confer all degrees. University and the School shall share
      evaluative data frequently (as agreed upon by the parties) to help drive ongoing improvement of
      the Program.

   K) Placement. The School will, to the extent practicable given the inherent differences between in-
      classroom and online students, make its career counseling and placement resources available to
      Program students on a basis similar to that provided to students enrolled in the School’s in-
      classroom Degree program, including in-person meetings to the extent Program students visit the
      School's campus.

   L) Alumni. University and the School shall be solely responsible for the management of alumni
      relationships, provided that the School may request 2U to provide reasonable assistance in
      maintaining contact with Program alumni and tracking their career progress.

   M) Data Sharing. University and/or the School (as applicable) will provide 2U with real time
      electronic access to: (a) information about Program students, which shall include University
      identification number, name, address, University email address and any activity restrictions (e.g.,
      financial, health or other holds on newly admitted and registered students); (b) Program professor
      and administrator information, which shall include basic information regarding each Platform
      user and his or her role; (c) Program course information, which shall include information
      regarding student registrations for courses and sections, section numbers, professors and related
      information; and (d) such other information as may be mutually agreed upon by the parties from
      time to time. Information released to 2U in compliance with this provision shall be deemed
      University Confidential Information and any Personal Information contained therein shall be
      handled in accordance with Section 1(K) hereof.

3) Accounting.

   A) Fiscal Year. The first Fiscal Year of the Program shall end on June 30, 2015.

   B) Program Tuition. University shall collect all Program tuition. University shall have the sole
      authority to set tuition for the Program. Except as set forth in Section 2(C) above, tuition, non-
      tuition fees and other charges for Program students shall be no lower than those for comparable
      classroom students of the School, provided the School may impose additional fees or charges for
      activities only available to online students.

   C) Finances. University shall compensate 2U as follows:

       i)   University shall calculate the number of FTE Students in each Fiscal Year. For its
            technology, curriculum production and deployment, student recruiting, technical support and


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        other services, 2U shall receive the following payments from University based on the number
        of FTE Students in each Fiscal Year: for the first 499 FTE Students in each Fiscal Year, 2U
        shall receive $39,000 (“Base Fee”) per FTE Student; for the next 500 FTE Students in each
        Fiscal Year (i.e., 500 to 999 total FTE Students in a Fiscal Year), 2U shall receive Base Fee x
        98.077 per FTE Student. Should there be 1,000 or more FTE Students in a Fiscal Year 2U
        shall receive Base Fee x 92.308% per each FTE Student (i.e., including the first 999 FTE
        Students) in that Fiscal Year. 2U shall be paid for any partial FTE Student on a percentage
        basis.

   ii) The initial per Program credit charge shall be $2,222.22. Should University increase the
       price per Program credit charged to Program students at any time, the Base Fee set forth in
       (and including as may be reset in accordance with) Section 3(C)(i) above shall automatically
       increase by the same percentage; that is, in the amount of the percentage of the increased
       price per Program credit over the immediately previous price per Program credit.

   iii) The Base Fee set forth in Section 3(C)(i) shall be effective as of the Effective Date. Any
        increases to the price per Program credit charged to Program students at any time after the
        Effective Date shall be subject to Section 3(C)(ii) above.

   iv) The parties agree that the University on-campus students shall be allowed access to the
       Platform and Produced Segments in exchange for certain fees as more fully set forth in the
       Schedule 1(H) attached hereto and incorporated hereinto as a part of this Agreement.

D) Reports and Payment.

   i)   For each course start during the term of this Agreement, University shall provide to 2U the
        following reports on or before the 30th day after the commencement of each course start, (a) a
        listing for such course start of: (i) the students offered admission by University to the
        Program, (ii) the students who enrolled in or dropped from each course in the Program,
        including a course listing for the enrolled students, (iii) the total number of credits started by
        each Program student in any course start, and (iv) a calculation of the payments between the
        parties pursuant to paragraph 3(D)(ii) below for such course start; and (b) a reconciliation of
        the foregoing described report against actual results obtained during the most recently
        completed course start.

   ii) Concurrently with the delivery of each report required by paragraph 3(D)(i) above, University
       shall also pay or adjust, as applicable, the payment due to 2U for the subject course start by
       electronic transfer of funds to such bank account as 2U may direct by notice to University no
       later than ten (10) business days prior to the scheduled date for such electronic transfer. The
       payment for the most recently commenced course start shall equal (a) the payment due to 2U
       (as determined pursuant to paragraph 3(C)(i) above) for such course start (b) adjusted by
       changes to the amount due to 2U for course starts prior to the most recently commenced
       course start.

   iii) Any payment by 2U to University to make up any post-course start adjustment shall be paid
        within thirty (30) days after 2U’s receipt of the applicable report.



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    iv) A final payment of amounts due from either party to the other pursuant to this Section 3(D)
        shall be made within thirty (30) days after the termination or expiration of this Agreement.


    v) Each month from January 2014 through December 2014, 2U shall advance to University
       $25,000.

    vi) Each month from January 2016 through December 2016, University shall pay to 2U $25,000
        per month as repayment of the advance received under paragraph 3(D)(v).

    vii) No less than three business days after submission to its Board of Directors, and upon prior
         notice of availability to the University, 2U shall make available to no more than five (5)
         University employees, as designated by the School, for three (3) business days, via password
         protected access on the world wide web, copies of its unaudited quarterly financial
         statements. The University may review such statements online solely to confirm 2U’s
         ongoing economic viability; provided that the University shall not (and shall not cause or
         direct other persons or entities to) copy or otherwise capture, in any tangible form (e.g.,
         screen shot, printing, download, hand-copied, etc.), such 2U reports. 2U’s obligation under
         this subparagraph shall continue until the earlier of (x) the University’s confirmation to 2U
         that, in its reasonable judgment, 2U’s business is economically viable on an ongoing basis; or
         (y) 2U stock becoming a publicly traded company through the effectiveness of a registration
         statement under the Securities Act of 1933, as amended.

E) Maintenance of Books and Records; Rights on Audit. University shall maintain such books and
   records as are necessary to substantiate all calculations and payments made in connection with the
   Program and this Agreement. During the term of this Agreement and any Term Extension(s) for
   a period of 180 days after the expiration or termination of this Agreement for any reason, 2U shall
   have the right to examine such books and records that are specifically related to the Program and
   this Agreement. The parties will cooperate in good faith to minimize the disruption associated
   with 2U’s exercise of its rights pursuant to this Section 3(E). Such examinations shall be held
   upon reasonable advance notice to University at University’s offices during normal business
   hours and shall take place no more frequently than once each Fiscal Year. Once a particular
   Fiscal Year has been so examined, such Fiscal Year shall not be subject to any subsequent re-
   examination pursuant to this Section 3(E) or otherwise, unless 2U can show reasonable grounds
   for believing that an uncorrected error that would materially affect the amounts payable to 2U for
   such Fiscal Year occurred in such previously examined Fiscal Year, either because a new error is
   subsequently found in a different Fiscal Year or 2U can demonstrate that new information
   evidencing such error has come to its attention. Any such examination shall be made at 2U’s sole
   cost and expense. If such examination discloses that any amounts have not been paid or have
   been made in incorrect amounts, and such amounts are not in dispute, the parties shall promptly
   take appropriate steps to correct such errors in payment, including interest accruing at 12% per
   annum such interest to be calculated from the date such payment should have been made to the
   date on which such payment is made, and any reasonable costs of the audit.




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4) Intellectual Property.

    A) University Property. 2U acknowledges that University’s faculty members own or shall own some
       of the University Intellectual Property created with the aid of 2U’s services and/or licensed to 2U
       by University hereunder. University shall obtain all required licenses, rights and permissions
       from its faculty members (including all required licenses, rights and permissions for the parties to
       continue to use (consistent with this Agreement) any intellectual property owned by any faculty
       member incorporated into the Program following any such University faculty member’s
       termination of employment with University for any reason, as necessary for University and 2U to
       perform their obligations as set forth in this Agreement. As between University and 2U,
       University shall own and retain all right, title and interest to University’s Intellectual Property,
       provided that nothing in the foregoing or this Agreement shall affect the ownership of any
       University Intellectual Property including the copyright of any underlying content by and
       between University and any or all of its faculty members. 2U acknowledges and agrees that
       (i) all Work Product shall constitute a “work made for hire” for University, as that phrase is
       defined in Section 101 and 201 of the Copyright Act of 1976 (Title 17, United States Code),
       including a work specially commissioned by University, and (ii) notwithstanding the foregoing
       subparagraph (i), if and to the extent 2U retains any interest in the Work Product (in whole or in
       part), 2U hereby grants, assigns and transfers to University all right, title and interest in and to the
       Work Product, and all intellectual property rights therein, including all patent, copyright, trade
       secret and other proprietary rights, and the right to make any modifications, adjustments or
       additions thereto (2U hereby expressly waiving any droit moral or similar rights to object to any
       such changes), the right to make and distribute derivative works thereof and the right to all claims
       for past infringement thereof. Upon University’s request, 2U shall execute and deliver to
       University all documents and instruments, including copyright assignments, and shall otherwise
       assist University, at University’s expense, to perfect in University the sole and exclusive right,
       title and other interests in the Work Product. In the event University is unable, because 2U is no
       longer in business, to obtain the signature of 2U to any document or instrument necessary or
       desirable to apply for protection of, or to enforce any action with respect to, any intellectual
       property right in or to the Work Product, 2U hereby irrevocably designates and appoints
       University and its duly authorized officers and agents as 2U’s agent and attorney-in-fact, whose
       power is expressly coupled with an interest, to act for and on behalf of 2U, to execute such
       documents and instruments and to take all lawfully permitted actions to protect University’s
       interests in any intellectual property right with the same legal force and effect as if executed by
       2U. During the term of this Agreement and any Term Extension(s), University may use the Work
       Product solely with respect to the Program and as otherwise consistent with this Agreement.
       Notwithstanding the foregoing, University may use the University’s Intellectual Property,
       including the content of all asynchronous lessons and the Work Product, and Produced Segments
       (including the 2U Intellectual Property contained therein), in any of University’s in-class
       programs during the term (and Term Extension(s)) of this Agreement, provided that 2U makes no
       representations or warranties with respect to the usability or functionality of the Produced
       Segments when accessed or used outside of the Platform.

    B) 2U Property. 2U shall own and retain all right, title and interest to all 2U’s Intellectual Property,
       provided that, for further clarity, 2U’s rights therein shall not give it any right whatsoever in or to
       any portion of University’s Intellectual Property, none of which may be used by 2U except in
       accordance with the express terms of this Agreement. Anything in this Agreement to the contrary


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    notwithstanding, this Section 4(B) shall not apply to software licensed from persons or entities
    other than the parties and included in 2U’s Intellectual Property by mutual agreement of the
    parties. University hereby expressly acknowledges that 2U shall be the owner of the Program
    Trademark and all logos, designs, or other branding feature(s) relating to the Program Trademark,
    excluding any University Intellectual Property (as already set forth in the definition of
    University’s Intellectual Property). University acknowledges that 2U shall have the right to take
    any and all actions necessary to apply to the United States Patent and Trademark Office for
    Program Trademarks, and to otherwise take any and all actions necessary to maintain and protect
    Program Trademarks. University’s acknowledgment of 2U’s ownership of Program Trademarks
    is subject to the express conditions that (i) the parties shall remain at all times obligated to utilize
    Program Trademarks solely in connection with the Program and consistent with this Agreement;
    and (ii) 2U shall execute a royalty free licensing agreement with the University with respect to the
    University’s use of any 2U-owned Program Trademark after termination of this Agreement.
    Should the Program Trademark contain any University Intellectual Property, 2U expressly
    acknowledges that University shall be the owner of such Program Trademark and shall have the
    right to take any and all actions necessary to apply to the United States Patent and Trademark
    Office for such Program Trademark, and to otherwise take any and all actions necessary to
    maintain and protect Program Trademarks that contain University Intellectual Property.

C) License of University Intellectual Property. University grants to 2U the non-exclusive right to
   use, during the term of this Agreement and any Term Extension(s), the names “UC Berkeley,” in
   combination with the “I School,” any Program Trademark(s) owned by the University, and/or any
   other trade names, trademarks, service marks, designs and logos specified by University solely
   for use by 2U in connection with the Program, including 2U’s marketing and promotion of the
   Program, subject to the School's prior approval of the form and manner of each such use. Subject
   to the limitation of the foregoing sentence with respect to University trademarks, trade names,
   trademarks, service marks, designs and logos, University and the School grant to 2U the non-
   exclusive right and royalty free license during the term of this Agreement to use all of
   University’s Intellectual Property within the Territory only to the extent necessary for
   University’s Intellectual Property to be incorporated into or used with the Program pursuant to the
   terms of this Agreement (but specifically including 2U's marketing and other obligations set forth
   herein). Such right and license shall include without limitation (except that the use must be
   pursuant to and in furtherance of the terms of this Agreement) a license of all rights under
   copyright and the rights to reproduce and copy University’s Intellectual Property in all editions,
   versions and formats for print and in any other form or medium, whether now known or hereafter
   known, throughout the Territory, including electronic, magnetic, digital, laser, or optical-based
   media (but excluding the right to make any changes in University’s Intellectual Property or to
   create derivative or related products). 2U shall acquire no rights in any of University’s
   Intellectual Property or in any of University’s or the School's trade names, trademarks, service
   marks, designs or logos from 2U’s use hereunder. 2U shall require any party to whom or to
   which it grants (as permitted by and in accordance with the terms and conditions of this
   Agreement) a sublicense of any University Intellectual Property to be bound by terms no less
   restrictive than those set forth in this Section 4(C).

D) License of 2U Intellectual Property. 2U grants to University and the School the right and license
   during the term of this Agreement and any Term Extension(s) to use all of 2U’s Intellectual
   Property, including a license of all rights under copyright and the rights to reproduce and copy


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       2U’s Intellectual Property in all editions, versions and formats for print and in any other form or
       medium, whether now known or hereafter known, throughout the world, including electronic,
       magnetic, digital, laser, or optical-based media, for use only in conjunction with:

                   (i) the School's delivery of the Program as anticipated by this Agreement,
                   (ii) the School’s and non-Program students’ use of the Produced Segments and/or
                         Work Product pursuant to Schedule 1(G),
                   (iii) the School's and/or non-Program students’ use of the Platform pursuant to
                         Schedule 1(G), and
                   (iv) as otherwise agreed by the parties in writing in ways that are not competitive
                         with the Program, provided that all such uses comply with the terms of this
                         Agreement.

       2U shall also grant to each student enrolled in the Program a royalty-free license to use the 2U
       Intellectual Property as part of the School's permitted delivery of the Program to such student.

   E) Other Uses of Marks. Other than the licenses granted in Sections 4(C) and 4(D), no party may
      use the other’s name, trademark, sign, logo or similar designation without each other’s prior
      written approval, which may be granted in such other’s sole discretion. The rights under Section
      4(C) above may not be (i) transferred, except upon a Change in Control or (ii) sublicensed.

   F) Infringements by Others. Each party shall promptly report in writing to the other during the term
      any known or suspected infringement of any of University’s Intellectual Property or 2U’s
      Intellectual Property of which such party becomes aware, and shall provide the other with all
      available evidence supporting such known or suspected infringement or unauthorized use.

   G) Infringements by Parties. In the event that a party becomes aware of any claim that the practice
      by either party in the development, production, promotion, marketing or distribution of the
      Program infringes the intellectual property rights of any third party, such party shall promptly
      notify the other party. In any such instance, the parties shall cooperate and shall mutually agree
      upon an appropriate course of action. Each party shall provide to the other party copies of any
      notices it receives from any person or entity other than a party regarding any alleged infringement
      or misappropriation of third party intellectual property relating to the development, production,
      promotion or marketing of the Program. Such notices shall be provided promptly, but in no event
      after more than fifteen (15) days following receipt thereof.

5) Term and Termination.

   A) Program Launch. The parties contemplate a rollout of the Program as follows: initial launch of
      the Program projected to start in January, 2014 (the “Program Launch”), consisting of 3 – 4
      courses and including no more than 50 students for the initial launch, provided that the parties
      may mutually agree to change the date of the Program Launch, and the parties shall agree in good
      faith as to when the Program is ready for Program Launch. The parties shall mutually agree on
      an additional 9 – 11 (12 – 15 total) additional courses to be incorporated into the Program
      subsequent to Program Launch. The parties shall work towards no fewer than four (4) start dates
      per Fiscal Year for the Program.



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B) Term. This Agreement and its term shall be deemed to have commenced on the Effective Date
   and continue for fifteen (15) Fiscal Years ending on June 30, 2029, subject to earlier termination
   or non-renewal as set forth in Sections 5(C), and 5(D) below, and subject to automatic three (3)
   year extensions as set forth in Section 5(E) below.



C) Termination For Cause.

    i)   University may terminate this Agreement effective upon delivery of written notice in the
         event of any material breach by 2U of this Agreement that is not cured within 60 days of 2U
         receiving written notice of such breach, provided that such written notice shall describe in
         detail such breach.

    ii) 2U may terminate this Agreement effective upon delivery of written notice in the event of
        any failure by University to make payments, or any other material breach of this Agreement
        by University that is not cured within 60 days of University receiving written notice of such
        breach, provided that such written notice shall describe in detail such failure to pay or other
        breach. 2U may also terminate this Agreement effective one year after delivery of written
        notice if University unilaterally materially raises its Admissions Standards for the Program.

    iii) A Non-Performing Party that receives a notice of breach and that has reasonable grounds for
         the position that the alleged breach is not, in fact, a breach hereof, may apply to a court for a
         temporary restraining order or preliminary injunctive relief to in effect toll the period
         hereunder to cure such breach or other similar relief, until the court has determined whether
         such alleged breach is, in fact, a breach hereof.

    iv) Either party may terminate this Agreement if: (a) at any time the other party files or has filed
        against it a petition for bankruptcy, insolvency, reorganization or for the appointment of a
        receiver, and such petition is not dismissed, vacated or set aside within sixty (60) days from
        the commencement thereof; (b) either party becomes insolvent or unable to pay its debts as
        they mature in the ordinary course of business; or (c) either party takes any action to make an
        assignment for the benefit of creditors or to liquidate or to dissolve.

    v) Should 2U (or its successor organization) become unable to continue to do business in the
       ordinary course through bankruptcy or otherwise, and following a reasonable opportunity to
       restructure or otherwise cure, 2U (or its successor organization) shall immediately make the
       Platform (including any Platform materials reasonably required for the School to use the
       Platform) available to University to enable the School to continue to deliver the Program and
       receive the benefits afforded to University under or pursuant to this Agreement, except that
       such rights shall be fully subject to, and only as permitted by, all applicable licensing and
       other agreements relating to the Platform and Platform materials. University shall be
       obligated at all times to maintain the confidentiality of all confidential aspects of the Platform
       (including any Platform materials). Should the event(s) causing University to exercise its
       rights under this Section 5(C)(v) be remedied, the School's right to use the Platform shall
       cease.



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    vi) Beginning on July 1, 2018, either party shall have the right to terminate this Agreement upon
        ninety (90) days prior written notice to the other party if less than a total of one hundred and
        fifty (150) students enroll in the Program in the prior Fiscal Year, provided that such
        termination right shall be waived if not exercised within ninety (90) days after the close of
        such prior Fiscal Year.

D) UC Berkeley Termination following 2U Change in Control. Should 2U experience a Change of
   Control, UC Berkeley may terminate this Agreement prior to the end of the Initial Term if either:

   i)    such change results in 2U being controlled by a person or entity in whom or with whom UC
         Berkeley would not be permitted to invest or contract based on UC Berkeley’s investment
         policies then in effect, or because of moral, social justice or similar reasons; or

  ii)    the surviving entity following a Change in Control unilaterally makes a material reduction in
         the financial or other resources devoted by 2U (or its successor) to 2U’s services in
         comparison to the Fiscal Year preceding the Change in Control or unilaterally reduces its
         obligations in operating plans previously agreed upon between 2U and UC Berkeley and in
         effect in the reasonable time frame prior to the Change in Control, subject to the notice and
         right to cure provisions of Section 5(C)(iii), above.

E) Term Extension. Subject to earlier termination as set forth in Sections 5(C) and 5(D), the term of
   this Agreement shall automatically extend for successive three (3) year periods (each a "Term
   Extension") as follows: the first Term Extension (covering Fiscal Years sixteen through and
   including eighteen) shall become effective upon the conclusion of the thirteenth Fiscal Year of
   the term of this Agreement; and each subsequent Term Extension shall become effective upon the
   conclusion of the first year of each subsequent three (3) Fiscal Year interval thereafter (i.e., the
   second Term Extension, covering Fiscal Years nineteen through and including twenty-one,
   effective upon the conclusion of the sixteenth Fiscal Year; the third Term Extension, covering
   Fiscal Years twenty-two through and including twenty-four, at the end of the twentieth Fiscal
   Year; etc.). Notwithstanding the foregoing, the first Term Extension shall not become effective
   upon either party providing written notice to the other party of non-extension before the
   conclusion of the thirteenth Fiscal Year of the original term; and any subsequent Term Extension
   shall not become effective upon either party providing written notice to the other party of non-
   extension up to two (2) years before the expiration of any Term Extension of this Agreement.
   Upon receipt of University’s notice of non-extension to 2U, 2U shall not be obligated to expend
   any additional amounts as part of 2U’s recruitment services described in Section 1(A) above, and
   any such non-expenditure by 2U shall not constitute or be deemed to be a breach of the
   Agreement. Notwithstanding the foregoing, the parties may mutually agree upon an amount that
   University shall reimburse to 2U for 2U to continue to provide its recruitment services described
   in Section 1(A) above (“Reimbursable Expenditure”), whereupon 2U shall continue to provide its
   recruitment services described in Section 1(A) above up to the amount of the Reimbursable
   Expenditure. In the event that 2U does not extend the Agreement (except for any reason that
   would permit early termination of the Agreement by University), 2U shall provide a transition
   plan to University that shall set forth the method and manner for the School to continue to operate
   the Program through a person (or person) or entity (or entities) other than 2U, as specified by
   University (which may include specific responsibilities to be completed by 2U upon any such



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       non-extension by 2U and at 2U's expense), with the contents of such transition plan to be
       mutually agreed upon by the parties.

   F) Effect of Termination. Any provision herein notwithstanding, after any termination or expiration
      of this Agreement:

       i)   Subject to paragraph 5(F)(ii), each party shall cease all use of the other party’s intellectual
            property, and 2U shall surrender to University all Work Product and any reproductions
            thereof, except for one copy that may be maintained solely for archival purposes and not
            distributed.

       ii) 2U and the School shall allow each student using the Platform to complete all individual
           courses in the Program that such student has actually commenced prior to the termination of
           this Agreement (except to the extent that such student is expelled by University or does not
           finish such course within six months following such termination or expiration).
           Notwithstanding any other provision of this Agreement, 2U shall be entitled to receive all
           amounts due hereunder for such courses.

       iii) Upon any termination or expiration, the School shall enable each then-enrolled Program
            student to complete his or her degree in an online format, subject to the School’s right in its
            sole discretion to determine student evaluation, the awarding of degrees and expulsion of
            students for cause, and provided that such student does so diligently and within three years of
            termination or expiration of this Agreement.

       iv) Sections 1)(K)(i) and (ii), 1(N), 4(A) and (B), 6(D), 8, 9, and 12 through 20 of this
           Agreement, and any other provisions of this Agreement that are expressly stated to survive
           for a period after termination, shall survive termination or expiration of this Agreement.

       v) Termination of this Agreement shall not prejudice the terminating party’s rights to any sums
          due or accrued under this Agreement prior to termination or expiration and shall not prejudice
          any cause of action or claim of the terminating party accrued or to accrue on account of any
          breach or default by the non-terminating party.

   G) Transition Plan. University may, at any time, require 2U to provide, at University’s expense
      (provided that 2U’s services shall be billed at industry-standard rates), a plan setting forth the
      method and manner for University to continue operating the Program with University personnel
      and assets or through a person (or persons) or entity (or entities) other than 2U (“Transition
      Plan”). 2U shall cooperate with University in implementing any such Transition Plan should
      University terminate the Agreement as per Section 5(C) or 5(D).

6) Representations and Warranties; Indemnifications.

   A) Laws and Regulations. Each party shall comply with all applicable federal, state and local laws
      and regulations applicable to it.

   B) Representations and Warranties of 2U. 2U represents and warrants that (i) it is a corporation duly
      organized, validly existing and in good standing under the laws of the State of Delaware; (ii) this


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Agreement has been duly executed and delivered by 2U and constitutes the legal, valid and
binding obligation of 2U, enforceable in accordance with its terms; (iii) the delivery and
performance of this Agreement does not and will not conflict with, result in the breach of,
constitute a default, with or without notice and/or lapse of time, under, result in being declared
void or voidable any provision of, or result in any right to terminate or cancel any contract, lease
or agreement to which 2U or any of its affiliates is bound, constitute a violation of any statute,
judgment, order, decree or regulation or rule of any court, governmental authority or arbitrator
applicable or relating to 2U or any 2U affiliate, or result in the acceleration of any debt or other
obligation of 2U; (iv) 2U, in its actions in connection with this Agreement, shall comply with all
applicable federal, state and local laws, regulations and rules, and all University policies
reasonably (“reasonably” as used in this subsection (iv) to be interpreted solely within the context
of a public university setting) applicable to it or any of its activities on behalf of or in the name of
University hereunder in effect on the Effective Date, or promulgated by University after the
Effective Date, reasonably applicable to it or any of its activities, and provided by the University
in writing to 2U; provided that should any policy or policies (or portion(s) thereof) conflict with
any term(s) of this Agreement, the term(s) of this Agreement, and not the conflicting policy or
policies (or conflicting portion(s) thereof) shall apply to 2U; (v) 2U owns, or will own, the rights
and interests in, or to, the 2U Intellectual Property necessary to enter into this Agreement and to
be developed pursuant to this Agreement, and to grant the licenses and assignments of such
property described in this Agreement; (vi) 2U Intellectual Property do not, and will not, infringe
any statutory or common law copyright, patent, privacy, trade secret or other intellectual property
right of any third party; (vii) 2U has not previously assigned, pledged, licensed or otherwise
encumbered any rights or interest in, or to, any component of 2U Intellectual Property in any way
that would interfere with or prevent the grant of the licenses and assignments of such property
described in this Agreement, nor will assign, pledge, license or otherwise encumber any rights or
interest in, or to, any component of 2U Intellectual Property in any way that would interfere with
the assignment or licenses granted hereunder; and (viii) on the Effective Date of this Agreement,
2U has access to sufficient financial resources to fulfill its obligations under this Agreement.

2U further represents and warrants that (i) it is, and to the best of its knowledge will be, in
sufficiently sound financial and operational condition for it to satisfy its obligations hereunder,
and that during the term of this Agreement, other than any Change in Control, 2U will not
undertake any action that will result in, or omit to take any action necessary to avoid, impairment
to its resources such as to substantially affect its ability to perform its obligations hereunder; (ii)
there are no known financial, legal or any other type of liabilities encumbering 2U, whether
existing or likely to materialize during the term of this Agreement to 2U’s knowledge, that by
themselves individually or in the aggregate are likely to substantially affect 2U’s ability to
perform its obligations according to the terms of this Agreement; (iii) as a learning management
system and admissions and student information system, the Platform as operated and managed by
2U will perform each of its central functions of course delivery, student learning and support,
communication, application and admissions support, and information management to the highest
current applicable industry standards; (iv) 2U will adopt reasonable measures to ensure the
integrity of all activities 2U undertakes in University’s name including but not limited to
marketing, recruiting, use, generation, preparation and disposition of information concerning
University’s students, applicants, graduates, faculty and staff; (v) 2U will keep University
reasonably informed about its operation of the Program, and work with University to improve the
Program throughout this Agreement; and (vi) 2U will follow University guidelines in using any


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    University trademark or trade name pursuant to the license granted hereunder, and will not
    engage in any conduct that is likely to result in or omit to take any action reasonably necessary to
    avoid damage to the University name or reputation or the academic integrity of the Program.

C) Representations of University. University represents and warrants that (i) it is an institution of
   higher education chartered by the laws of the State of California; (ii) this Agreement has been
   duly executed and delivered by University and constitutes the legal, valid and binding obligation
   of University enforceable in accordance with its terms; (iii) the delivery and performance of this
   Agreement does not and will not conflict with, result in the breach of, constitute a default, with or
   without notice and/or lapse of time, under, result in being declared void or voidable any provision
   of, or result in any right to terminate or cancel any material contract, lease or agreement to which
   University or any of its properties is bound, constitute a violation of any material statute,
   judgment, order, decree or regulation or rule of any court, governmental authority or arbitrator
   applicable or relating to University, or result in the acceleration of any debt or other obligation of
   University; (iv) University, in its actions in connection with this Agreement, shall comply with all
   applicable federal, state and local laws, regulations and rules applicable to it (provided that this
   representation does not impact the division of responsibilities between the parties with respect to
   complying with applicable law and policy, including the obligations set forth in Section 1(K)); (v)
   University holds, or will hold, the rights and interests in, or to, the University Intellectual
   Property necessary to enter into this Agreement and to grant the licenses of such property
   described in this Agreement; (vi) University Intellectual Property and the trademarks licensed
   under Section 4 above do not, and will not, infringe any statutory or common law copyright,
   privacy, trade secret, trademark or other intellectual property right of any third party; and (vii)
   University has not previously assigned, pledged, licensed or otherwise encumbered any rights or
   interest in, or to, any component of University Intellectual Property or the trademarks licensed
   under Section 4 above in any way which would interfere with or prevent the grant of the licenses
   of such property described in this Agreement.

    The parties agree that any breach by a party of any of its representations or warranties made in
    this Section (Representations and Warranties) shall constitute a material breach of the Agreement
    by such party subject to Section 5(C).

    The parties agree that the representations and warranties (excluding Section 6(B)(ii) and 6(C)(ii)
    contained herein shall survive the expiration or early termination of this Agreement.

D) Indemnity.

    i)   General. (a) Except as provided for in Sections 6(D)(ii) and (iii) below, 2U shall defend,
         indemnify, and hold harmless University, its officers, employees, and agents, from and
         against all losses, expenses (including attorneys' fees), damages, and liabilities of any kind
         arising out of its performance under this Agreement but only in proportion to and to the
         extent that such losses, expenses, damages and liabilities are caused by the negligent or
         willful acts or omissions of 2U, its officers, employees, or agents. (b) Except as provided for
         in Sections 6(D)(ii) and (iii) below, University shall defend, indemnify, and hold harmless
         2U, its officers, employees, and agents, from and against all losses, expenses (including
         attorneys' fees), damages, and liabilities of any kind arising out of its performance under this
         Agreement but only in proportion to and to the extent that such losses, expenses, damages


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    and liabilities are caused by the negligent or willful acts or omissions of University, its
    officers, employees, or agents. (c) Without limiting the foregoing, the Indemnifying Party
    shall indemnify and defend the Indemnified Party against any costs, expenses (including
    reasonable attorneys’ fees whether arising out of a third-party claim or in enforcing this
    indemnification), claims, judgments, settlements and damages (including all damages
    awarded to any person or entity other than the parties payable by Indemnified Party) arising
    out of, or related to: (i) the inaccuracy or breach of any of the representations, warranties or
    covenants of the Indemnifying Party or its employees, agents, or subcontractors in this
    Agreement, and (ii) any breach by the Indemnifying Party, its employees, agents, or
    subcontractors of any applicable laws, regulations and rules.

ii) Accessibility Claims. 2U shall defend, indemnify and hold the University harmless against
    any and all claims or investigations arising out of or in any way connected to any actual or
    alleged violation of any federal or state law (including any U.S. territory) relating to 2U’s
    obligations to provide disability access as set forth in Section 1(K)(vi). University shall
    defend, indemnify and hold 2U harmless against any and all claims or investigations arising
    out of or in any way connected to any actual or alleged violation of any federal or state law
    (including any U.S. territory) relating to University’s obligations to provide disability access
    as set forth in Section 1(K)(vi). Each such obligation includes payment of any costs
    associated with investigations initiated by a governmental enforcement body, settlement or
    verdict, including payment of attorneys’ fees to which any plaintiff is entitled pursuant to
    federal and state law. Each party understands, agrees and acknowledges that the Indemnified
    Party maintains sole control of the defense of any such action, including any settlement
    negotiations and decisions, and any trial or appeal decisions.

iii) Indemnification Conditions. The indemnification obligations set forth in this Agreement are
     subject to the following conditions: (a) the Indemnified Party must give prompt notice to the
     Indemnifying Party of any possible claim for indemnification under this Agreement promptly
     after the Indemnified Party becomes aware of such possible claim; (b) the Indemnified Party
     at its own expense may participate with counsel of its own choosing and appear on an equal
     footing with the Indemnifying Party in the defense of any such claim; (c) the Indemnifying
     Party shall not consent to settle or compromise any claim without the prior written approval
     of the Indemnified Party, not to be unreasonably withheld, conditioned or delayed, provided
     that the Indemnifying Party shall not be required to obtain prior approval of the Indemnified
     Party for any settlement that involves only the payment of money by the Indemnifying Party,
     does not contain any admission of liability by or with respect to the Indemnified Party, and
     contains a full release of all claims against the Indemnified Party. Any delay by the
     Indemnified Party in notifying the Indemnifying Party shall not relieve the Indemnifying
     Party from any liability or obligation under this Agreement unless (and then solely to the
     extent) the Indemnifying Party is damaged thereby. The Indemnified Party shall cooperate in
     the defense of any claim for which the Indemnifying Party is indemnifying hereunder, at the
     expense of the Indemnifying Party, except the Indemnified Party shall bear the expense of the
     time of its own employees.

iv) Indemnification Procedure. Following notice of a claim or a threatened or actual suit that
    might result in an indemnification liability under this Section 6(D), the Indemnifying Party
    may, at its own expense, without obligation to do so, procure for the Indemnified Party the


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            right to continue to use the relevant intellectual property or to replace or modify such
            intellectual property with products of substantially similar functionality to avoid the
            infringement or alleged infringement claimed, but such procurement shall not release such
            Indemnifying Party of its indemnification obligation under this Agreement.

7) Insurance. Each party shall be solely responsible for obtaining workers compensation insurance for
   its employees and agents and such other insurance as may be required by applicable laws. In
   addition, each party agrees to carry (or, in University’s case, to self-insure for) general liability
   insurance in an amount not less than $1,000,000 per occurrence. Any insurance policy required
   above shall name the other party as additional insured on broad form endorsements with respect to all
   bodily injury, personal injury, products/completed operations injury, advertising injury, and property
   damage liability arising out of the party’s operations, services or products. Any such insurance policy
   shall be endorsed to provide that such coverage shall be primary over any coverage available to the
   other party under its own insurance program in the event of any suit, claim damages or loss. Each
   party shall provide to the other party a copy or copies of a Certificate or Certificates of Insurance, or
   in University’s case evidence of a self-insurance program, demonstrating that the insurance coverage
   set forth above is in full force and effect no later than sixty (60) business days after the date of the
   parties’ execution of this Agreement. The certificate(s) shall also evidence the insurers’ agreement to
   endeavor to provide the other party at least 30 days’ advance notice of any cancellation or material
   change in any policy of insurance for coverage required under this Agreement. Further, each party
   shall maintain any insurance coverage referenced herein for a period of five (5) years after
   termination of this Agreement.

8) Confidentiality.

    A) Announcements. Neither 2U or any of its subsidiaries, officers, directors, employees, other
       affiliates or agents on the one hand, nor University or any of its subsidiaries, officers, directors,
       employees, other affiliates or agents on the other hand shall, without the prior consent of the
       other, make any public statement or announcement or any release to trade publications or through
       the press or otherwise without the advance consent of the other party, except as may be necessary
       to comply with the requirements of any applicable law, governmental order or regulation or legal
       proceeding. 2U may also disclose this Agreement to potential financing parties who agree in a
       customary form of confidentiality agreement to keep its terms confidential.

    B) Confidential Information. Each Receiving Party acknowledges that it has been informed that it is
       the policy of each Disclosing Party to maintain as secret and confidential all Confidential
       Information, and further acknowledges that such Confidential Information is of great value to the
       Disclosing Party. The terms of this Agreement shall be included in the definition of Confidential
       Information, provided however that 2U understands and acknowledges that the final executed
       version of this Agreement will be subject to disclosure pursuant to the California Public Records
       Act. The parties recognize that in negotiating and carrying out the terms of this Agreement, each
       Receiving Party has and will acquire Confidential Information as aforesaid. Each Receiving
       Party confirms that it is reasonably necessary to protect each Disclosing Party's Confidential
       Information and associated goodwill, and accordingly:

        Each Receiving Party shall not directly or indirectly (except where authorized by the Disclosing
        Party in writing), for or on behalf of the Receiving Party or any Person for any reason, divulge


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       any of the Disclosing Party’s Confidential Information to any Person other than the Disclosing
       Party (hereinafter referred to collectively as a “Third Party”), except as required by law, in which
       case, when possible, only after providing prior notice to the Disclosing Party, or use or cause to
       authorize any third parties to use, any such Confidential Information. Each Receiving Party shall,
       upon the expiration or termination of this Agreement for any reason, forthwith deliver up to the
       Disclosing Party, or destroy or delete as requested by the Disclosing Party, any and all documents
       and materials, or copies thereof, in electronic format or otherwise, in the Receiving Party's
       possession or under its control that relate to any Confidential Information or that are otherwise
       the property of the Disclosing Party, provided that the Receiving Party may maintain one copy of
       records containing Confidential Information for archival purposes only.

   C) Return of Confidential Information. Upon the request of the Disclosing Party at any time after
      the termination of this Agreement, the Receiving Party will return or destroy or delete as
      requested by the Disclosing party (and purge its systems and files of) all Confidential Information
      supplied to, or otherwise obtained by, the Receiving Party in connection with this Agreement or
      provide, in form and substance acceptable to the Disclosing Party, a certificate of destruction with
      respect to all such Confidential Information, except the Receiving party may retain one copy
      solely for archival purposes, which shall remain subject to the confidentiality provisions hereof.

   D) Remedies. Any breach or threatened breach by either party of any provision of this Section 8
      will, because of the unique nature of the Confidential Information entrusted to it as aforesaid,
      cause irreparable harm to the other party and shall entitle such other party, in addition to any
      other legal remedies available to it, to apply to any court of competent jurisdiction to enjoin such
      breach or threatened breach. The parties understand and intend that each restriction agreed to in
      this Section 8 shall be construed as separable and divisible from every other restriction, and the
      unenforceability, in whole or in part, of any such restriction, shall not affect the enforceability of
      the remaining restrictions and that one or more or all of such restrictions may be enforced in
      whole or in part as the circumstances warrant. Each party further acknowledges that the other
      party is relying upon such covenants as an inducement to enter into this Agreement. 2U shall
      cause its employees, agents and independent contractors to enter into appropriate confidentiality
      agreements to enforce the provisions of this Section 8. University shall cause its employees,
      agents and independent contractors to comply with the provisions of this Section 8. For the
      purposes of this Section 8, the term “person” shall mean any person, corporation, limited liability
      company, partnership or other entity, along with the heirs, successors and assigns of the same.
      The provisions of this Section 8 shall apply to a party and any affiliate of such party at any time
      during the term hereof, including at any time that such affiliate is no longer an affiliate of such
      party.

9) Limitation of Liability. To the maximum extent permitted by law, in no event shall either party be
   liable to the other or to any other person for any indirect, incidental, consequential, exemplary or
   special damages, of any character, including, but not limited to, damages for loss of goodwill, lost
   profits, lost business and/or any indirect economic damages whatsoever regardless of whether such
   damages arise from claims based upon contract, negligence, tort (including strict liability or other
   legal theory), a breach of warranty or term of the Agreement, and regardless of whether a party was
   advised or had reason to know of the possibility of incurring such damages in advance. In no event
   will a party’s aggregate liability for all claims, damages or losses under this Agreement, apart from
   claims, damages or losses asserted by a third party and subject to such party’s indemnification


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    obligations hereunder, exceed the greater between: (a) the amount paid by University to 2U under
    Section 3(D)(ii), (iii) and (iv) of this Agreement during the twelve (12) month period preceding the
    occurrence of the initial event that gives rise to a claim and (b) eight million dollars ($8,000,000).

10) Exclusivity. This Agreement shall be exclusive among the parties, and, during the term or Term
    Extensions of this Agreement, neither the School nor 2U shall offer, or begin to develop or otherwise
    enter into any other agreement (either written or oral) to develop or collaborate on or offer, any
    Competitive Program within any part of the world, except as follows:

    A) 2U may offer Competitive Programs as follows: (i) 2U may offer a program under another name
       provided that (a) such program is not offered through any of the following schools: Carnegie
       Mellon, Harvard, MIT, Northwestern, NYU, Stanford, UCLA, University of Illinois, University
       of Michigan, University of North Carolina, University of Pennsylvania, and University of
       Washington, (b) 2U does not utilize the Curriculum, Work Product or other University materials
       or Confidential Information in offering such program, and (c) 2U’s launch of any Competitive
       Program does not occur prior to the two (2) year anniversary date of the Program Launch. (ii)
       Provided that 2U is able to recruit more than 500 qualified applicants to the Program, University
       agrees that, by no later than the fifth anniversary of the Effective Date, it shall permit up to 500
       new student starts (across all programs) or such higher number of starts as the School may permit,
       failing which 2U may offer a Competitive Program. (iii) 2U may offer a Competitive Program
       upon receipt of notice from the University of non-extension of the original term or any Term
       Extension of this Agreement pursuant to Section 5(F).

    B) School may offer Competitive Programs provided that should School intend to develop and/or
       otherwise offer any Competitive Program(s) using a third party, School shall first identify each
       such proposed Competitive Program in writing to 2U, and 2U shall have the right of first refusal
       to develop and administer each such proposed Competitive Program on the same terms and
       conditions set forth in this Agreement; and further provided that University does not utilize any
       2U Intellectual Property or 2U Confidential Information in offering such program.

    C) Any party offering Competitive Programs hereunder shall not utilize any Confidential
       Information obtained from the other party for the benefit of any Competitive Program. Any party
       offering Competitive Programs shall create, implement and maintain an “ethical wall” to ensure
       complete separation of personnel identifying themselves as working for University from
       personnel identifying themselves as working for any Competitive Program.

11) Force Majeure. The nonperformance of either party to this Agreement, except nonperformance of
    payment obligations, will be excused to the extent that performance is rendered impossible by any act
    of God or circumstances beyond the control of a party and without its fault or negligence, including
    fire, war, riots, flood, earthquake, failure of third party hardware or software, governmental acts or
    orders or restrictions, or power or communications failure (each a “Force Majeure Event”), provided
    that the non-performing party gives prompt notice of such Force Majeure Event to the other party and
    makes all reasonable efforts to remove such causes of nonperformance promptly and perform
    whenever such Force Majeure Event has ceased. In the event that the Force Majeure Event continues
    and prevents substantial use of the Program for more than forty-five (45) days, either party may
    terminate this Agreement with respect to that School upon written notice to the other party, and upon
    such termination, neither party shall have any further obligation or liability to the other except as set


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    forth in Section 5(G) hereof.

12) Sharing of Information. University and 2U shall share information (including access to appropriate
    electronic data), but only to the degree permitted by applicable law and guidelines. Upon reasonable
    request, both parties shall share information about online and in-classroom students’ admissions,
    performance, and post-graduate outcomes. All information shared under this Section 12 shall be
    deemed University Confidential Information, whether it constitutes Personal Information or not.
    Such shared information shall include daily updates for admission and financial aid status, grades and
    academic status. University and 2U shall collaborate to analyze the correlation of application data
    with grades and other outcome metrics to help the Program continually refine admissions standards.

13) Entire Agreement. This Agreement (including all schedules hereto) contains the entire understanding
    of the parties with respect to the subject matter hereof and supersedes any prior agreement between
    the parties. No change, amendment, termination or attempted waiver of any of the provisions hereof
    shall be binding unless in writing and signed by the party against whom the same is sought to be
    enforced.

14) Successors and Assigns. This Agreement, including, without limitation, all service levels, quality
    maintenance controls and investment obligations, shall be binding upon and shall inure to the benefit
    of the respective successors and assigns of the parties, provided that neither party may assign,
    subcontract or sublicense this Agreement in whole or in part or any of its rights or obligations
    hereunder without the prior written consent of the other, provided, however, that 2U may subcontract
    out aspects of the work for the Program other than overall Program management, provided further
    that 2U shall be responsible for any subcontractor work engaged by 2U for the Program as if 2U were
    performing it.

15) Resolution of Disputes. Any dispute relating to this Agreement; the making, performance,
    nonperformance or termination of this Agreement; or any transaction in connection with this
    Agreement shall be resolved in the following manner. The parties shall first meet in good faith and
    attempt to resolve the dispute on their own. If the dispute cannot be resolved by the parties, the
    dispute shall be submitted to non-binding arbitration, and such arbitration shall be conducted in the
    County of Alameda, California, in accordance with the rules of the American Arbitration Association
    (“AAA”).

16) Governing Law. This Agreement and any claim or dispute arising out of, relating to or in connection
    with this Agreement or the transactions contemplated hereby, whether in contract, tort or otherwise,
    shall be governed by and construed in accordance with the laws of the State of California without
    giving effect to its conflicts of law principles.

17) Review and Notices.

    A) Approvals Generally. If either party hereto wishes to object to any proposal or other matter
       submitted by the other party for consent or approval, the objecting party shall promptly after
       submission of such proposal provide to the submitting party a description of its objection(s) in
       reasonable detail together with suggestions as to how it would like to see such objection(s) cured.
       Unless otherwise specified herein, approval for or consent to any proposal hereunder shall not be
       unreasonably delayed, conditioned or withheld and shall be deemed to have been given following


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    10 days after the written submission of such proposal, unless the reviewing party has provided a
    notice of objection(s) as described in this Section.

B) Content and Brand Approvals. In the case of any consent or approval required from the School
   with respect to the content or appearance (to users) of the Program, any substantive modification
   of any University Intellectual Property, or the content or appearance of any use of any University
   or School brands in the context of any marketing message in which it will appear, shall require
   the prior approval of University or the School prior to any use. The University and/or School
   trademarks, as noted in Exhibit A, hereto attached and made a part of this Agreement may not be
   modified in any way without written approval from University’s Office of Marketing & Business
   Outreach. Once the content or appearance of any use of any such brand in context is approved by
   the School in its sole and absolute discretion, no further approval shall be required hereunder for
   re-purposing such content or appearance in any media that would be consistent with the
   marketing plan and media previously approved by the School.

C) Notices. Any notices or other communications under this Agreement, except as may otherwise be
   provided in this Agreement, will be deemed given and delivered (a) when delivered personally or
   (b) on the date received by or rejected by addressee, if mailed postage prepaid by certified mail,
   return receipt requested or if sent shipping prepaid by nationally recognized courier service
   requesting signature on delivery or (c) on the date received, if sent by confirmed facsimile
   (provided, however, in each case, if such confirmation is not by 3 p.m. on a business day, then on
   the next business day), in each case addressed to the address on the first page hereof, or, in the
   case of fax, to

    2U at:                  Chelsea Piers
                            Pier 60, Suite 6020
                            New York, NY 10011
                            Fax no: (212) 656-1109

    and to

    University at:          Dean of the School of Information
                            University of California, Berkeley
                            102 South Hall #4600
                            Berkeley, CA 94720-4600
                            Fax: (510) 642-5814

    or to such other address as either party shall designate by notice to the other, effective ten (10)
    days after such notice.




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        In the case of notice to 2U, a copy shall also be sent to:

                                 Obermayer Rebmann Maxwell & Hippel LLP
                                 Attention: Peter J. Oberkircher, Esquire
                                 One Penn Center, Suite 1900
                                 1617 John F. Kennedy Boulevard
                                 Philadelphia, PA 19103-1895
                                 Fax: 215-665-3165

        In the case of University, a copy shall also be sent to:

                                 Business Contracts Administrator
                                 Business Contracts Office
                                 412 O’Brien Hall
                                 University of California, Berkeley
                                 Berkeley, CA 94720-5620
                                 Fax: 510-643-0622

18) Severability. The invalidity or unenforceability of any particular provision of this Agreement in any
    jurisdiction shall not affect the other provisions hereof or such provision in other jurisdictions, and
    this Agreement shall be construed in such jurisdiction in all respects as if such invalid or
    unenforceable provisions were omitted.

19) Independent Contractors. Each party shall be an independent contractor of the other party hereto.
    This Agreement shall not create a partnership and shall not authorize either party hereto to bind the
    other party in any manner.

20) Specific Performance. Each party acknowledges that money damages will not be a sufficient remedy
    for a breach of certain material obligations of the other party under this Agreement, and each party
    hereto shall be entitled to equitable relief pursuant to Section 20 compelling specific performance of
    such material obligations as a remedy for any such breach. Such remedies shall not be deemed to be
    the exclusive remedies for a breach of a material obligation of this Agreement but shall be in addition
    to all other remedies available at law or equity to the parties.

21) 2U Employee Benefit. The School agrees that 2U employees and their immediate family members
    (as appropriate) who are academically qualified to attend the Program shall be eligible for any and all
    discounts that University may make available to University and/or School employees and their
    immediate family members attending the Program.


                                        [SIGNATURES FOLLOW]




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                                          SCHEDULE 1(G)

                            2U Support of Program Students & Faculty
1. Scope of SLA. This SLA covers a broad range of services and support provided by 2U throughout
   the Program student lifecycle. (The Service Level Agreement will be revised periodically and
   modified through mutual agreement. 2U and the School agree to review annually but may do so
   more frequently.)

2. Student Support. 2U’s Post-Enrollment Services team will provide full lifecycle support for
   Program students as follows:

   a) New Enrollment Services. This is defined as assisting Program students once they have signed
      their Intent to Enroll form and continuing through the on boarding and orientation to the start of
      courses.

       i) Welcome Call--Upon acceptance into the program, students receive a congratulatory call
            from their Admissions Counselor who transitions the relationship to Student Support. Upon
            conclusion of this call or a period of 48 hours, an email is sent to the student. This email
            welcomes them to the program and requests a time to conduct a Welcome Call. These calls
            are an opportunity to gather and share information with the Program student to include:
                (a) Introduction to the Student Support team and the School Academic Advising team.
                (b) Financial Aid process – Notify Program students of the forms/process and provide
                    referrals to the University Financial Aid Office.
                (c) Introduction to the Program and course schedule.
       ii) Orientation -- Once a Program student signs their Intent to Enroll form, 2U provides them
            with access to the Platform. Program students are given a username and password and an
            introduction to the required assignments.
       iii) Live Orientation -- In Orientation, Program students are invited to attend a Live Orientation
            session run by a 2U Student Support Advisor. During this session, Program students are
            introduced to Adobe Connect and asked to test their webcam and headset.

   b) Student Support. 2U’s Student Support team will offer customer and technical support to all
      Program students.

       i) Telephone Support – 2U will offer phone support to students:
           (1) Official Program support hours will be defined in partnership with School staff. Special
               attention will be paid to distribution of students across times and for international
               coverage. Student support phone hours will be adjusted to cover enrolled student needs.
           (2) 2U and the School will review the geographic composition of each incoming class to
               determine the most appropriate hours of operation. This review will lead to a
               modification of this agreement to reflect the updated hours of operation.
           (3) Business Hours are defined as:
               (a) Monday through Friday, 7AM EST to 12AM EST
               (b) Saturday, 10AM to 6PM EST
               (c) Sunday, 10AM to 6PM EST
           Hours are subject to change in accordance with mutually agreed-upon holidays or other
           changes. All changes will be included as an addendum to this Schedule. In the event of a


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         phone system outage due to severe weather, acts of nature, or other events not within 2U’s
         control, 2U will make every reasonable effort to provide telephone support through other
         methods and/or will provide a recorded message with status updates every 6 hours, if
         necessary and possible, during the above business hours.
    ii) Email Support -- 2U will offer email support to Program students according to hours
         described above. All emails/support cases will be acknowledged and responded to within 24
         hours.
    iii) Feedback via Platform-- The feedback mechanism is available to Program students and
         faculty on a 24x7 basis. Feedback submissions are reviewed and delegated daily.
    iv) Responsiveness –
         (1) Phone metrics - 2U will provide routine call metrics as part of its performance reporting
             (Average Speed to Answer, Abandonment Rates, Call Counts, Talk Times, etc.). 2U and
             the School will work to define specific targets based upon acceptable industry standards.
         (2) Email is acknowledged immediately upon receipt and responded to within 24 hours by
             email or phone. These are documented and included in the student record in Salesforce
             and reporting is provided based upon any open task.
         (3) Platform feedback is reviewed nightly and delegated to the appropriate resources for
             follow-up within 48 hours.
    v) Resolution Expectations
         (1) 2U and the School will work to establish expected resolution times for various types of
             support issues.
         (2) 2U and the School will define specific communication and escalation paths for issues
             unresolved with the expected resolution times.
    vi) Office Hours -- Student Support representatives will be available in Platform office hours to
         support Program students and faculty.
    vii) Prior to each course start, 2U’s Student Support team will provide students with the
         following:
             (a) Book ordering information
             (b) Expectations, pre-reading and syllabus for each course
             (c) Information on how to register for class

c) Administrative Support
   i) Forecasting – 2U will develop and maintain an ongoing retention and enrollment model to
        provide estimates for class times and sections.
   ii) Documentation and tracking of escalations – 2U will maintain tracking for issues escalated to
        Academic Advisors, faculty leads or other University or School staff.
   iii) Class times and sections – 2U’s Student Services team will lead the operational
        implementation and communication with Program students regarding registration processing.
        2U will leverage 2U and University/School systems and processes to coordinate the logistics
        of optimizing and assigning class times, sections and faculty. The School is responsible for
        the final approval of section numbers, class times and faculty.
   iv) University Registration support – 2U will provide necessary support for both Program student
        self registration or bulk registration processes directly with the Registrar.




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3. Faculty Support
      a. Training Materials – The School and 2U will develop and provide faculty-training materials
          in paper and electronic format covering Program overview processes and procedures,
          technology and systems, personal computer system check, and ongoing support procedures.
      b. Training
                i. 2U Technical Training – 2U is responsible for initial technical and platform training.
               ii. 2U Platform Support – 2U is responsible for on-going Platform support for
                   University faculty.
              iii. School Technical Support – The School is responsible for all non-Platform technical
                   support for faculty members.
              iv. School Pedagogical/Instructional Training and Support – the School is responsible
                   for initial and on-going instructional training and support.
      c. Training Delivery -- Training will be provided through a combination of onsite and remote
          training. The School will schedule major training sessions thirty days in advance. Training is
          mandatory for all new faculty members involved in the Program.
      d. Scheduling – Training sessions will be planned around quarterly starts as new faculty
          members are hired. The School is responsible for forecasting and hiring of faculty in a timely
          fashion commensurate with projected enrollments. In addition, School faculty will
          participate and lead all aspects of programmatic and course specific sections of the training in
          partnership with 2U. The School will notify 2U 30 days in advance of scheduled course dates
          and will secure facilities in Berkeley for the training session.
      e. Class-Time Observations – 2U support staff will join in on the first two weeks of class times
          with all new faculty members teaching in the Program. This will help reinforce the training
          provided with real world practical follow-up. This will allow support personnel to resolve
          any student side start-up issues and help the instructor become more familiar and comfortable
          with the platform.

4. Metrics and Measurement. The School and 2U will agree on Platform, program, and service metrics
   to track Program success.
            a. 2U will provide the School with a routine dashboard report to include the following
               components:
                     i. Enrollment
                    ii. Retention
                   iii. Student Satisfaction
                   iv. Faculty Satisfaction
                    v. Call Metrics
                   vi. Platform Feedback
5. Changes and Renewal. The parties will mutually agree on adjustments to this SLA on an annual
   basis or more frequently as mutually agreed.

The following describes the high-level division of roles and responsibilities between 2U’s Student
Services team and the School Program Office. These lists can be altered upon mutual agreement of the
parties.




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2U Student Services
   • Welcome email/call
   • Access to Platform
   • Access to Orientation
   • Personal ID card
   • University email account
   • Customer support
   • Technical setup (headset, video recorder, etc.)
   • Confirm contact info
   • Assigning Program students for Academic support as identified by the Associate Dean
       (coordination and management of writing tutor support)
   • Technical support
   • Reviewing, responding to, escalating online feedback

School Program Office
   • Program student course plan (e.g., part-time schedules, leaves of absence, withdrawals, etc.)
   • Medical/Personal Issues requiring Leave of Absence/Deferrals
   • Course Add/Drops
   • Academic support (working with faculty to identify at-risk Program students)
   • Program change requests
   • Institutional Verification for Program completers
   • Provide intro/overview of Curriculum
   • Create and share course schedules
   • Faculty procedural questions (“can I give him an incomplete”)
   • University/School fellowships
   • Graduation/Commencement
   • Weekly online office hours
   • Program scheduling (communication with other departments)




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                                           SCHEDULE 1(H)

(1)     Except as otherwise explicitly set forth in the Agreement, only Program students and their
professors may utilize the Platform. Each Program Student will receive a personal ID card and access
password, which password will be required prior to such student’s access to the Platform. To the extent
possible given the technological considerations with respect thereto, UC Berkeley may use the Produced
Segments and Work Product outside of the Platform for on-campus students of the School.
Notwithstanding anything contained in the preceding sentence, the Agreement, or otherwise, 2U makes
no representations or warranties with respect to the usability or functionality of the Produced Segments or
Work Product when accessed or used outside of the Platform.

(2)     (A)     Upon request by UC Berkeley, 2U shall provide in-classroom Degree students the
following services: (i) the Customer Service and Counseling services to matriculated students as set forth
in Section 1(C) of the Agreement; (ii) technical support of the Platform, but not training, to such in-
classroom students and their professors; and (iii) access to and use of the Platform as provided to the
corresponding online Degree students.

        (B)      In exchange for the services 2U renders pursuant to Section 2(A) of this Schedule 1(H),
UC Berkeley shall pay to 2U $3,000 per student, on the same schedule and as otherwise set forth in
Section 3 of the Agreement.

(3)     (A)      Upon request by UC Berkeley at any time after Program Launch, 2U shall provide
asynchronous access to and use of the Platform to in-classroom Degree students for the purpose of
accessing the Produced Segments and the Curriculum. In addition, 2U shall provide asynchronous access
to and use of the Platform to School faculty for the purpose of accessing the Produced Segments and the
Curriculum. 2U shall not be responsible for the training or support of these users.

        (B)     Upon request by UC Berkeley, 2U shall make the Produced Segments and the
Curriculum available to in-classroom students enrolled in any University program that does not offer an
online degree through access to and use of the asynchronous portion of the Platform. 2U shall provide
technical support of the Platform, but not customer support, with respect to such in-classroom students.
2U shall not be obligated to develop any additional content with respect to this Section 3(B) of this
Schedule 1(H), provided that 2U may develop such additional content for an additional fee to be mutually
agreed upon in writing by the parties.

        (C)     In exchange for the services 2U renders pursuant to Section 3(A) and 3(B) of this
Schedule 1(H), UC Berkeley shall pay to 2U $500 per student as a one-time fee for the student to use the
Platform and the Produced Segments as set forth in (3)(A) and (B) above any time during the student’s
enrollment at the University, on the same schedule and as otherwise set forth in Section 3 of the
Agreement.

(4)     Should the price per Program credit increase during the term as contemplated in Section 3(C)(iii)
of the Agreement, each per student payment set forth in this Schedule 1(H) shall increase by the same
percentage amount.




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                                         SCHEDULE 1(H)(i)
                     Specifications and Performance Standards for the Platform and
                                   Related Service Level Agreements

This Service Level Agreement (“SLA”) sets forth 2U’s responsibilities as they apply to the Platform,
pursuant to the terms of the Services Agreement between University and 2U. The purpose of this SLA is
to ensure that the proper elements and commitment are in place to provide excellent and consistent data
processing services.
1) Definitions
           a)      Platform is a technology platform for the Program that serves as an online
                   communication portal for students, faculty, course coordinators, course assistants,
                   and Program staff and that enables online applications, course delivery, Program
                   communications, development and maintenance of student portfolios, career services
                   and such other functions as are mutually agreed to by the parties. The Platform is the
                   custom developed Learning Management System (LMS), Admissions and Student
                   Information System. The Platform includes the technology for delivering the
                   Produced Segments.
           b)      Functions include the ability to authenticate/authorize; submit an application;
                   respond to applicants and track communications; accept the offer of admittance;
                   transfer accepted applicant data to University systems; receive or submit all course
                   material (video, documents, audio); receive and submit course assignments; view the
                   “news feed”; leverage checklist for assignments; upload comments in written or
                   video form; collaborate via synchronous sessions with video, audio, whiteboard, slide
                   sharing; and delivery of dashboard style reports for student information throughout
                   the student lifecycle with the Program.
           c)      Initial Response is contacting a User via email or phone to determine the details of
                   such User’s particular issue. Initial response is not an automated email but rather an
                   individualized discussion.
           d)      Mass Initial Response is contacting a group of Users for communication of a known
                   issue rather than communicating on a one-by-one basis.
           e)      User or Users is defined as Program students, staff and faculty related to the
                   University School of Information online programs regardless of whether they work
                   for 2U or University or a 3rd party. Any calculations based on Users would also be
                   on this pool of students, staff, and faculty.
           f)      Business Hours are defined in Schedule 1(F).
           g)      Organizational Data is any data in any form associated with any University User.
           h)      Vendor Vulnerability Patch is any patch that will remediate a known security
                   vulnerability for a product. These patches are not patches for routine bug fixes and
                   program updates. For a patch to constitute a Vendor Vulnerability Patch, the
                   Platform, Organizational Data, and or User systems must be at risk without the patch.
2) 2U’s Hosting Services is any organization that 2U has contracted to house any and all of its computer
   hardware, software and peripherals.


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3) Service Description
          a)      2U will provide, support, and be responsible for the availability of the hosting
                  network, 2U’s Hosting Services, any server operating system, the Platform, and any
                  third party application required to operate the Platform.
          b)      2U will provide hosting support and maintenance, as set forth in this SLA, on the
                  Platform including:
                  i)     Initial development of the Platform; and
                  ii)    Patches and upgrades to the Platform
          c)      The Platform will be accessible through the then-most popular browsers in their most
                  popular configurations. These include the latest widely adopted production releases
                  of Mozilla Firefox, MS Internet Explorer, Apple Safari and Google Chrome once
                  they have been accepted, and past versions of those browsers within two years of
                  release. The Platform may require a variety of plug-ins. 2U shall evaluate new
                  releases of such browsers promptly, but no later than thirty days after their release.
4)     Defects: 2U will repair errors, bugs, or defects in the Platform, and respond promptly to
       University Users experiencing problems with the Platform.
          a)      2U characterizes Functions as Core, Minor or Ancillary as described below:
                  i)     Core is defined as the ability to authenticate and log-in to the Platform, submit
                         an assignment, watch or upload a video, join and/or run a course live session
                         (Adobe Connect Pro), or elements of the Platform critical to the delivery of
                         Produced Segments.
                  ii)    Minor is defined as any Function that is student services-related but not
                         learning-related such as, but not limited to, viewing the event calendar,
                         verifying grades, or changing profile contact information.
                  iii)   Ancillary is defined as any Function that is not student services-related or
                         learning-related such as, but not limited to, writing on or viewing the chat wall.
          b)      2U characterizes defects as follows:
            1-High Priority        A Core Function of the Platform is not operational for 5% or more
                                   of Users.
            2-Medium Priority      A Core Function of the Platform is not operational for a single
                                   User.
            3-Low Priority         A Minor or Ancillary Function of the Platform is not operational
                                   for one or more Users (who can continue to use other application
                                   Functions). A User has questions about a Platform Function, or
                                   needs administrative assistance.

          c)      The 2U Help Desk prioritizes requests for support according to their priority-level.
                  The priority level is determined by 1st line support generally without contacting the
                  User. When additional information is needed to determine that priority, the User will
                  be contacted for clarification. The time required for a User to receive an Initial


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                  Response after reporting a problem to the Help Desk is below. Once an issue is
                  determined to be a Priority 1, the Help Desk may meet these requirements by sending
                  a Mass Initial Response to those they reasonably believe are impacted. All Users
                  believed to be directly impacted by a Priority 1 issue shall be contacted and will
                  receive regular communication on the progress of the issue’s resolution.
     Regular communications on the progress of the resolution of the issue will be sent to all Users
     until the issue is resolved.
       Priority     Initial     Response
                    Time
       1            2 business hours
       2            12 business hours
       3            48 hours


           d)         2U will provide a solution to a User problem based on the priority of the issue as
                  follows:
        Priority Solution Time
        1           24 hours, 90% of the time
        2           48 hours , 90% of the time
        3           5 business days, 90% of the time.


5)   Availability
           a)     Availability of the Platform will be guaranteed at 99% for any given calendar month,
                  excluding the items defined in the Exceptions Section below.
           b)     Should Availability of the Platform fall below 99.5% in any given month, 2U and the
                  School will meet to discuss the impact of the Availability and reasonable, mutually
                  agreeable steps to improve the Availability above 99.5%.
           c)     Availability is measured as the percentage of a particular calendar month that access
                  to the Platform is available by third parties via HTTP and HTTPS. For example,
                  availability for a given month is calculated by subtracting downtime from the total
                  available time in that month, and dividing the remainder by the total available time.
           d)     Availability is measured by synthetic transactions using a third party contracted by
                  2U, and reasonably acceptable to the School, whose determinations shall be binding
                  on the parties, or at the request of University upon receiving evidence contrary to or
                  inconsistent with such third party’s determination, jointly by the parties.
           e)     Outages of a reasonable duration (generally less than three (3) hours) due to
                  executing a Vendor Vulnerability Patch will not be included in the Availability
                  calculation regardless of the scheduling and notification capability and those patches



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                will be applied at 2U’s discretion. In addition, Vendor Vulnerability Patching will be
                excluded from the calculation of Availability.
6)   Exceptions: The Availability guarantee set forth above shall not apply to the following service
     interruptions:
        a)      Unscheduled necessary maintenance shall result in no more than one half hour of
                unavailability of the Platform during any calendar week. 2U will use reasonable
                efforts to give Users one (1) hour advance notice of unscheduled necessary
                maintenance. Any unscheduled maintenance resulting in more than one half hour of
                unavailability of the Platform during any calendar week once will count against the
                Platform Availability calculation.
        b)      Scheduled maintenance and upgrades:
                i)     Routine scheduled maintenance means maintenance on the Platform that is
                       scheduled at least 24 hours ahead and which results in less than one (1) hour of
                       unavailability of the Platform. 2U will use reasonable efforts to schedule such
                       routine maintenance between 6:00 AM and 11:00 AM ET on Mondays,
                       Wednesdays and Fridays. 2U will give Users 24 hours advance notice of
                       routine scheduled maintenance for any maintenance requiring more than 15
                       minutes of unavailability of the Platform. 2U will select a time for the outage
                       with the lowest level of activity based on recent activity trends for the
                       Program’s use of the Platform, whenever reasonably possible, and the Platform
                       more generally in all other instances. A routine scheduled maintenance
                       occurring more than once in any 24 hour period will count against the Platform
                       Availability calculation.
                ii)    Extensive scheduled maintenance means maintenance on the Platform that is
                       scheduled at least 7 days ahead and which results in more than one (1) hour of
                       unavailability of the Platform. 2U will schedule extensive scheduled
                       maintenance during the lowest expected level of activity on the Platform based
                       on recent activity on the Platform. 2U will give Users seven (7) days advance
                       notice of extensive scheduled maintenance.           An extensive scheduled
                       maintenance occurring more than once in one calendar month will count
                       against the Availability calculation.
                iii)   Upgrades are defined as updates to the Platform. Upgrades will be applied
                       during a routine scheduled maintenance window or other mutually agreed
                       timeframe.
        c)      Outages due to School-requested events such as intrusive testing, data loading,
                custom export or usage outside SLA parameters.
        d)      Domain Name Server (DNS) propagation or DNS issues outside the direct control of
                2U. Similarly, outages elsewhere on the Internet that hinder access to the Platform.
                2U is not responsible for browser or DNS caching that may make the Platform appear
                inaccessible when others can still access it.
        e)      Circumstances beyond 2U’s reasonable control, including acts of any governmental
                body, war, insurrection, sabotage or other criminal act, armed conflict, embargo, fire,



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                flood, strike or other labor disturbance, interruption of or delay in transportation,
                unavailability of or interruption or delay in telecommunications or third party
                services, failure of third party Services contracted for use in the Platform or inability
                to obtain raw materials, supplies, or equipment needed for provision of this SLA,
                provided however, 2U shall take all reasonable measures to mitigate any outage and
                to restore services.
7)   Disaster Recovery
        a)      Geographically-redundant data backups are made on the following schedule:
                i)    Incremental backups are made every three (3) hours and kept for seven (7)
                      days;
                ii)   Full backups are made weekly and kept for three (3) months;
        b)      The maximum recovery point data differential (or the amount of time for which work
                may be lost) in event of an unrecoverable hosting outage, is five (5) days.
        c)      The maximum time to service restoration following a disaster as declared by 2U’s
                Hosting Services is five (5) days.

8)   Remedies

        a)      If the School believes that a service level commitment herein is not being met, it shall
                notify 2U of the perceived problem. 2U shall promptly investigate any such matter
                and respond within two business days by either (i) acknowledging the shortfall, and
                summarizing the steps and estimating the time necessary to correct it, or (ii) by
                disagreeing that any commitment has not been met and explaining its reasons. If
                more than one problem is asserted, 2U shall respond separately to each.

        b)      If the School believes that the response is insufficient, the parties shall meet in person
                as promptly as possible to discuss and attempt to resolve such differences. If the
                parties are unable to resolve all differences at that meeting, then they shall resolve
                such differences as they are able, and 2U shall proceed immediately and diligently in
                accordance with such resolution, and University may, if it thinks appropriate, send a
                notice of default as set forth in Section 5(C) of the Services Agreement with regard to
                any unresolved difference.




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                                      SCHEDULE 6(B)
[University policies and/or code of conduct applicable to 2U or any of 2U’s activities on behalf
              of or in the name of University hereunder as of the Effective Date]

                     Intellectual Property and Use of the University Name
  ▪   Campus Online Activities Policy:
      http://technology.berkeley.edu/policy/online.html

  ▪   Patent Policy:
      http://policy.ucop.edu/doc/2500493/PatentPolicy

  ▪   Policy on Copyright Ownership:
      http://www.universityofcalifornia.edu/copyright/systemwide/pcoi.html

  ▪   Policy on Course Materials:
      http://policy.ucop.edu/doc/2100004/CourseMaterials

  ▪   Policy on the Use of the University Name, Seals, and Trademarks:
      http://ombo.berkeley.edu/forms/policies/campuspolicy

  ▪   Policy to Permit Use of the University Name:
      http://www.ucop.edu/ucophome/coordrev/da/da0864.html

  ▪   Policy to Permit Use of the University Seal:
      http://www.ucop.edu/ucophome/coordrev/da/da0865.html

  ▪   Representation of the University on Letterhead and Business Cards:
      http://www.ucop.edu/ucophome/coordrev/policy/9-28-99ltrhead.html

  ▪   UC Code of Conduct for Trademark Licensees:
      http://www.ucop.edu/ucophome/coordrev/policy/1-05-00code.pdf

                          Student Information – Privacy and Access
  ▪   Policies Applying To The Disclosure Of Information From Student Records:
      http://policy.ucop.edu/doc/2710533/PACAOS-130

  ▪   Business and Finance Bulletin RMP-4, Vital Records Policy:
      http://policy.ucop.edu/doc/7020458/BFB-RMP-4

  ▪   Business and Finance Bulletin RMP-7 on Privacy of and Access to Information
      Responsibilities: http://policy.ucop.edu/doc/7020462/BFB-RMP-7




                                       University and 2U                                       Page 42
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   ▪   Business and Finance Bulletin RMP-8, Legal Requirements on Privacy of and Access to
       Information:
       http://policy.ucop.edu/doc/7020463/BFB-RMP-8

                               Non-Discrimination and Harassment
   ▪   Guidelines Applying To Nondiscrimination On The Basis Of Disability
       http://policy.ucop.edu/doc/2710534/PACAOS-140 and


   ▪   Student-Related Policy Applying To Nondiscrimination On The Basis Of Sex:
       http://policy.ucop.edu/doc/2710535/PACAOS-150

   ▪   Policy On Nondiscrimination:
       http://policy.ucop.edu/doc/2710522/PACAOS-20

   ▪   University of California Policy on Sexual Harassment and Procedures for Responding to
       Reports of Sexual Harassment:
       http://policy.ucop.edu/doc/4000385/SexualHarassment

Student Rights and Student Conduct
   ▪   Policy On University Obligations And Student Rights:
       \http://policy.ucop.edu/doc/2710537/PACAOS-170

   ▪   Berkeley Campus Code of Student Conduct:
       http://sa.berkeley.edu/code-of-conduct

                                       Electronic Information
             [(query whether 2u will be accessing a “resource” as defined in Appendix A)]
   ▪   Business and Finance Bulletin, IS-2 (Inventory, Classification, and Release of University
       Electronic Information):
       http://policy.ucop.edu/doc/7020447/BFB-IS-2

   ▪   IS-3 (Electronic Information Security)
        http://policy.ucop.edu/doc/7000543/BFB-IS-3

                                          Miscellaneous
   ▪   Conflict of Interest Policy and Compendium of Specialized University Policies: Guidelines
       and Regulations Related Conflict of Interest (PDF):
       http://policy.ucop.edu/doc/1220367/BFB-G-39

   ▪   Regulations Governing Conduct of Non-Affiliates in the Buildings and on the Grounds of the
       University of California:
       http://policy.ucop.edu/doc/3000127/NonAffiliateRegs




                                         University and 2U                                         Page 43
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  July 29, 2014

  AnnaLee Saxenian
  Professor and Dean
  UC Berkeley School of Information
  Berkeley, CA 94720-4600

  Office of Business Contracts
  and Brand Protection
  UC Berkeley
  Berkeley, CA 94720- 1928

  Dear Dean Saxenian:

         I am writing to confirm our agreement regarding certain marketing rights that UC
  Berkeley has agreed to provide to 2U in exchange for the consideration listed below. 2U
  is both proud and confident that this arrangement will further solidify UC Berkeley's
  leadership position in the field of data science and provide the Program with additional
  resources to help manage future growth. All capitalized terms not defined herein shall
  have the same meaning as set forth in the January 18, 2013 Master Services Agreement
  between UC Berkeley and 2U (the " Agreement").

          Subject to the tenns of this letter, UC Berkeley hereby grants 2U the rights
  specified below in connection with a Competitive Program supported by 2U and the
  Southern Methodist University (the "Other Program") and agrees to amend certain terms
  of the Agreement.

        I. Other Program and 2U Marketing Measures. Any provision in the Agreement
             to the contrary notwithstanding, UC Berkeley hereby grants 2U the pennission
             to offer the Other Program with a target launch date in or around the spring
             term 20 I 5, subject to the terms of this letter. In connection with the Other
             Program, and for the full term (i.e., the initial term and any "Term Extensions")
             of the Agreement, UC Berkeley permits 2U to do the following:

         •   Include a checkbox option, in substantially the same form as the attached
             Exhibit A, on any landing page or other web property where an individual is
             provided the opportunity to input his or her contact information to request
             Program information which, when checked, requests 2U (identified only as
             UC Berkeley's "technology service provider") to provide information about
             the Other Program (without identifymg that program by name or school) in
             addition to the information to be provided about the Program.

         •   Market the Other Program by name through a 2U letter in substantially the
             same form as the attached Exhibit B I to leads/individuals who were accepted
             into but choose not to enroll in the Program and who have consented via
             checkbox option (i.e., checkbox option as set forth in Exhibit A) to receive
             information regarding the Other Program.




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          •   Market the Other Program by name through a 2U letter in substantially the
              same form as the attached Exhibit B2 to leads/individuals with incomplete
              Program applications who have consented via checkbox option (i.e.,
              checkbox option as set forth in Exhibit A) to receive infonnation regarding the
              Other Program and (i) who have disengaged with 2U regarding the Program
              based on criteria to be determined by the parties; or (ii) whom 2U and UC
              Berkeley reasonably predict are not otherwise academically qualified or
              interested in the Program.

          •   Market the Other Program by name through a 2U letter in substantially the
              same fonn as the attached Exhibit C to Program applicants who were denied
              admission into the Program, and who have consented via checkbox option
              (i.e., checkbox option as set forth in Exhibit A) to receive information
              regarding the Other Program.

          •   Market the Other Program by name to Program applicants who previously
              consented via checkbox option (i.e., checkbox option as set forth in Exhibit A)
              to receive information about the Other Program, through a 2U letter in
              substantially the same form as the attached Exhibit D, which permits the
              Program applicant to request that the Program applicant's application be
              shared with the Other Program associated with UC Berkeley's "technology
              service provider'' for consideration of admission into the Other Program.

        2. Special License. Any provision in the Agreement to the contrary
           notwithstanding. UC Berkeley hereby grants to 2U, solely to the extent
           necessary to enable 2U to exercise the rights granted by UC Berkeley to 2U
           herein, a non-exclusive, royalty-free license to use the following of the
           University's Intellectual Property: Program Applicant Information, and the
           trademarks and        names of School          of Information,    Berkeley,
           datascience@berkeley, the University of California, UC, and the image of
           Campanile, only as shown in the attached exhibits.

        The parties agree that the pennissions and license granted in this Section 1 are
  expressly conditioned on the satisfaction by 2U of each of its payment obligations under
  SectionS ofthis letter.

          Further, 2U agrees that communications relating to the Other Program shall not (i)
  reference a "MIDS" or "Master of Information and Data Science" program or degree, or
  (ii) contain any of the University's Intellectual Property except as set forth in this letter
  and/or the Agreement or upon 2U having obtained the express written consent of UC
  Berkeley. For the avoidance of doubt, nothing in this letter shall limit, or be deemed to
  limit, 2U's rights to recruit for or market the Other Program where 2U's communications
  or other materials do not reference a "MIDS'' or "Master of Information and Data
  Science" program, or contain or otherwise utilize any of the University's Intellectual
  Property (including Program Applicant Information) or Confidential Information.

         2U agrees that all branding of the Other Program shall be distinctive from the
  branding of the Program (e.g., distinctive color palette, photography, iconography, tone,
  language style and other prominent branding elements). 2U further agrees the degree


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  offered via the Other Program shall not be named a "Master of Information and Data
  Science" degree.

        3. Amendments. To allow for the grant of rights by UC Berkeley in connection
           with the Other Program in Section I hereof, the Agreement is hereby amended
           as follows:

               a. Section IO)A)(i)(b) is hereby deleted in its entirety and replaced with
                  the following language: "and (b) 2U does not utilize the Curriculum,
                  Work Product or other University materials or Confidential
                  Information in offering such program, except as utilization of
                  University materials or Confidential lnfonnation is expressly
                  permitted by a certain letter agreement dated July 25, 2015 (including
                  the exhibits appended thereto) ("Letter Agreement")";

               b. Section I O)A)(i)(c) is hereby deleted in its entirety and replaced by the
                  following: "2U"s launch of any Competitive Program does not occur
                  prior to the two (2) year anniversary date of the Program Launch
                  except for the Competitive Program expressly permitted by the Letter
                  Agreement"';

               c. The first sentence of Section I O)C) is hereby deleted in its entirety and
                  replaced with the following language: "Any party offering
                  Competitive Programs hereunder shall not utilize any Confidential
                  Information obtained from the other party for the benefit of any
                  Competitive Program, except to the extent 2U is allowed to use,
                  consistent with the Letter Agreement, contact information about
                  Program leads and Program Applicant Information (specifically
                  including information regarding the completion status of Program
                  applicants' Program applications, the University's admissions
                  decisions with respect to Program applicants, and any Program
                  applicant's decision not to matriculate into the Program), where any
                  such individual has consented to receive infonnation about the
                  Competitive Program and/or elected to apply to the Competitive
                  Program as contemplated by the Letter Agreement; and

               d. Section I 0) is hereby amended by inserting at the end of Section I 0)
                  the following new Section IO)D): ..Notwithstanding anything to the
                  contrary contained herein, 2U shall be pennitted to use the
                  University's Intellectual Property and Confidential Information in
                  connection with any Competitive Program solely as permitted by the
                  Letter Agreement and/or as otherwise may be mutually agreed by the
                  parties in writing."

        4. NQtice. Should 2U send any communication in violation of the pennissions
           granted by UC Berkeley in Section I above, 2U shall notify UC Berkeley of
           any such improper communication(s) within three (3) business days of 2U's
           knowledge thereof.



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        5. Compensation. In exchange for the rights, exceptions, and licenses granted
           above, 2U agrees to pay to UC Berkeley fourteen ( 14) equal installments of
           $300,000 (collectively, "Compensation.,), the first installment payable on or
           before July I, 2015, with additional installments continuing on or before each
           annual anniversary thereafter, through and including July I, 2028. UC
           Berkeley may use all amounts received hereunder at UC Berkeley's sole and
           exclusive discretion. 2U shall make such payments by check.

        6.    UC Berkeley Right to Offset. 2U expressly agrees that in the event of non-
             payment by 2U of any amount of Compensation when due (except for any
             amounts disputed in good faith), UC Berkeley may offset any of its obligation
             to pay 2U fees based on FTE students or repay 2U for 2U advance under
             Section 3 of the Agreement against any amount of 2U nonpayment of
             Compensation.

           This letter is incorporated into and deemed a part of the Agreement. Except as
  expressly provided in this letter, all ofthe terms and provisions of the Agreement are and
  will remain in full force and effect. On and after the date of the full execution of this
  letter, each reference in the Agreement to "this Agreement,.. "the Agreement,''
  "hereunder,'' "hereof,'• "herein" or words of like import will mean and be a reference to
  the Agreement as amended by this letter.




                                 [This spat:l! intentionally left blank]




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        I truly hope that you are as excited as I am about this arrangement. If you are
 agreeable to the terms I have set forth above, please sign this letter below.

 Very truly yours,

 ~~l e't(""
 Christopher Paucek, CEO
 2U, Inc.


 On behalfofUC Berkeley School of Information,
 I agree to the terms set forth above.



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 Date:     ]   I"20 \ \1
 On behalf of the Regents of University of California


 By:     L/(;u;u/111<   ~
 Title: ·~·
 Office orBusiness Contracts
 And Brand Protection


 Date:   Ja/y :?lZ· M/~




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                                                       Exhibit A
                             Sample Berkeley Lead Landing Page
   Berkeley ,........_
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                                           Exhibit Bl
                   Berkeley Declines
Sample Email to Admitted Applicants Choosing Not to Enroll in MIDS




          Dear Jennifer,

          While we, a technology service provider of University of California, understand that
          you have chosen not to pursue your master's degree with uc Berkeley, there are
          other opportunities for you to pursue graduate education In data science.

          With this in mind, we wanted to let you know about DataScience@SMU, the on Nne
          Master of Science in Data Science program from SMU. This interdisciplinary program is
          designed and taught by the same SMU faculty members who teach on campus, and
          takes advantage of a state-of-the-art online learning platform to blend live, face-to-
          face online classes with dynamic self.paced coursework.

          If you would like to learn more about this Master of Science in Data Science program,
          please call our Admissions Counselor at 1-888-SSS-1212 or dick .!':!tm·

          we appreciate your interest and wish you the best of luck in your future endeavors.

          Sincerely,

          Sally Smith


         The •tt•r 11bo11e ("utterl'l II ••nt on IHitolf of2U, Inc., nor the Unlwrslty of Ctll/fomkl (UC}.
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                                             Exhibit 82
 Berkeley Incomplete Applications
Sample Email to Applicants Who Have Not Completed Their MIDS Application




              Dear Jennifer,

              While we, a technology service provider of University of caNfornla, understand that
              you have chosen not to complete your application to the master's degree program
              with UC Berkeley, there are other opportunities for you to pursue graduate education
              in data science.

              With this in mind, we wanted to let you know about OataScience@SMU, the online
              Master of Science in Data Sdence program from SMU. This interdisciplinary program is
              designed and taught by the same SMU faculty members who teach on campus, and
              takes advantage of a state-of-the-art online learning platform to blend live, face-to·
              face online classes with dynamic self-paced coursework.

              If you would like to learn more about this Master of Science in Data Science program,
              please call our Admissions Counselor at 1-888-555-1212 or elide .!}m.

              We appreciate your interest and wish you the best of luck in your future endeavors.

              Sincerely,

              Sally Smith


             The J.tter obovc (-uttcr"l Is sent on behalfofZU, Inc., not the University of Colifomia {UC}.
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                                             Exhibit C
                     Berkeley Denieds
                Sample Email to Denied MIDS Applicants




        Dear Jennifer,

        Although the University of california ("UC") was unable to offer you admission, we as
        UC's technology service provider appreciate your Interest In and desire to pursue a
        graduate degree In the data science field.

        With this in mind, we wanted to let you know about DataSdence@SMU, the online
        Master of Science In Data Science program from SMU. This interdiscipNnary prosram is
        designed and taught by the same SMU faculty members who teach on campus, and
        takes advantage of a state-of-the-art online learning platform to blend live, face-to·
        face online classes with dynamic self-paced coursework.

        If you would like to learn more about this Master of Science in Data Science program,
        please call our Admissions Counselor at 1-888·555·1212 or click here.

        We wish you the best of luck In your future endeavors.

        Sincerely,

        Sally Smith

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                                              Exhibit D
                           Berkeley Submits
Sample Email to leads Who Have Opted-In and Who Submit an Application




          Dear Jennifer,

          We are a technology service provider of University of California and understand that you
          have submitted an application for a master's degree program with UC Berkeley. We also
          work with DataSclence@ISMU, the online Master of Science In Data Science program from
          SMU.

          This Interdisciplinary program Is designed and taught by the same SMU faculty members
          who teach on campus, and takes advantage of a state-of-the-art online learning platform to
          blend live, face-to-face online classes with dynamic self-paced courseworlc.

          You can choose to have your application separately reviewed tor admission to SMU for their
          online Master of Science in Data Science program. To learn more about this option, please
          calll-888·555-1212 or If you would like your application to be reviewed by
          DataScience@SMU, dick the submit button below.



          By clicking this button, I authorize my application to be shared with and reviewed by
          DataScienceOSMU. I understand that my information will be shared with SMU, a university
          that is unaffiliated with the University of california. I may review the privacy policy for
          details.

           The Inter abow ("'tater'? Is unt on Mhalfof2U, Inc., not the unlwnlty of CllllfomiD
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          does not assume ond will not hcwe ony lloblllty or responsibility to you or rmy other person
          for any losses or damages arising out of or relgtlng to the tat~ or any other non·UC
          mtlterlllls or web sl~s, products, or services.  Dotosdenuf!~Mrlre~y
